             Case 4:20-cr-00266-JST Document 245 Filed 08/25/23 Page 1 of 32




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   Attorney for the United States
 2 Acting under Authority Conferred by 28 U.S.C. § 515

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10 Attorneys for the United States of America

11
                                 UNITED STATES DISTRICT COURT
12
                               NORTHERN DISTRICT OF CALIFORNIA
13
                                         OAKLAND DIVISION
14
     UNITED STATES OF AMERICA,                  )   NO. 20-CR-00266 JST
15                                              )
            Plaintiff,                          )   UNITED STATES’ EXHIBIT LIST
16                                              )
       v.                                       )
17                                              )
     MICHAEL BRENT ROTHENBERG,                  )   Trial Date:    October 2, 2023, 8:30 a.m.
18                                              )   Pretrial Date: September 15, 2023, 2:00 p.m.
            Defendant.                          )   Court:         Hon. Jon S. Tigar, Courtroom 6
19                                              )

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     UNITED STATES’ EXHIBIT LIST
     20-CR-00266 JST
             Case 4:20-cr-00266-JST Document 245 Filed 08/25/23 Page 2 of 32




 1          The United States provides the attached notice of exhibits it may introduce at trial in its case-in-

 2 chief.

 3          The United States reserves the right to amend or supplement this list as appropriate as trial

 4 preparations progress.

 5

 6 DATED: August 25, 2023                                 Respectfully submitted,

 7                                                        THOMAS A. COLTHURST
                                                          Attorney for the United States
 8                                                        Acting under Authority Conferred by 28 U.S.C. § 515

 9
                                                                     /s/
10                                                        KYLE F. WALDINGER
                                                          NICHOLAS J. WALSH
11
                                                          Assistant United States Attorneys
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     UNITED STATES’ EXHIBIT LIST
     20-CR-00266 JST                                 1
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                                                 UNITED STATES DISTRICT COURT
                                                NORTHERN DISTRICT OF CALIFORNIA
CASE NO. 20-CR-00266 JST                                                                                               DATE:
                                             UNITED STATES v. MICHAEL ROTHENBERG

                                                    UNITED STATES' EXHIBIT LIST

 TRIAL
          MARKED    ADMITTED             DESCRIPTION OF EXHIBIT                                   BEGBATES                         ENDBATES
EXHIBIT
                               Amended and Restated Limited Liability Company
   1                           Agreement for Rothenberg Ventures Management           SEC-DOJ-EPROD-000116393          SEC-DOJ-EPROD-000116408
                               Company, LLC, dated 12/28/2012
                               Rothenberg Ventures Management Company,
   2                           organizing documents filed with California Secretary   US-000746                        US-000747
                               of State
                               RVMC name change documents filed with California       Bates-numbered documents to be
   3
                               Secretary of State                                     produced
                               Rothenberg Ventures Fund I, LLC, organizing
                                                                                      Bates-numbered documents to be
   4                           documents and name change documents filed with
                                                                                      produced
                               California Secretary of State
                               Operating Agreement of Rothenberg Ventures Fund I,
   5                                                                                  SEC-DOJ-EPROD-000108707          SEC-DOJ-EPROD-000108737
                               LLC, dated 9/6/2012

                               Amended and Restated Operating Agreement of
   6                                                                                  RVMC-00000562                    RVMC-00000593
                               Rothenberg Ventures Fund I, LLC, dated 9/6/2012

                               Management Agreement between RVMC and Fund I,
   7                                                                         SEC-DOJ-EPROD-000150895                   SEC-DOJ-EPROD-000150897
                               dated 9/6/2012
                               Economic Interest and Participation Agreement
   8                                                                         SEC-DOJ-EPROD-000108685                   SEC-DOJ-EPROD-000108688
                               between RVMC and Fund I

                               Confidential Private Offering Memorandum of
   9                                                                              SEC-DOJ-EPROD-000108689              SEC-DOJ-EPROD-000108706
                               September 6, 2012, Rothenberg Ventures Fund I, LLC

                               Second Amended and Restated Operating Agreement
                               of Rothenberg Ventures Fund I, LLC, dated 9/10/2013
   10                          (attaching First Amended and Restated Management SEC-DOJ-EPROD-000110291                SEC-DOJ-EPROD-000110324
                               Agreement between RVMC and Fund I dated
                               9/10/2013)
                               Rothenberg Ventures Fund I, LLC, Summary of
                               Principal Terms, Confidential Private Offering
   11                          Memorandum of September 6, 2012 for Rothenberg FAR-0000001                              FAR-0000058
                               Ventures Fund I, Operating Agreement of Rothenberg
                               Ventures Fund I
                               Rothenberg Ventures Fund II, LLC, organizing
                                                                                   Bates-numbered documents to be
   12                          documents and name change documents filed with
                                                                                   produced
                               California Secretary of State
                               Operating Agreement of Rothenberg Ventures Fund II,
   13                                                                              SEC-DOJ-EPROD-000136769             SEC-DOJ-EPROD-000136803
                               LLC
                               Management Agreement between RVMC and Fund II,
   14                                                                              SEC-DOJ-EPROD-000136847             SEC-DOJ-EPROD-000136849
                               dated 10/18/2023

                               First Amended and Restated Operating Agreement of
   15                                                                                 RVMC-00000322                    RVMC-00000357
                               Rothenberg Ventures Fund II, LLC

                               Action by Written Consent of the Manager and
   16                          Members of Rothenberg Ventures Fund II, LLC            RVMC-00001162                    RVMC-00001206
                               (2013)
                               Amended and Restated Management Agreement
   17                                                                                 SEC-DOJ-EPROD-000150898          SEC-DOJ-EPROD-000150901
                               between RVMC and Fund II
                               Rothenberg Ventures Fund II, LLC, Summary of
                               Principal Terms (as of November 1, 2013) and           SEC-DOJ-EPROD-000047568          SEC-DOJ-EPROD-000047568
   18
                               Confidential Private Offering Memorandum for Fund      (RVMC00004352)                   (RVMC00004416)
                               II
                               Rothenberg Ventures Fund II, LLC, Summary of
   19                                                                                 FAR-0000059                      FAR-0000123
                               Principal Terms (as of August 1, 2014)



                                                                     Page 1
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 TRIAL
          MARKED   ADMITTED              DESCRIPTION OF EXHIBIT                                      BEGBATES                         ENDBATES
EXHIBIT
                              Rothenberg Ventures 2015 Fund, LLC, organizing             Bates-numbered documents to be
  20
                              documents filed with California Secretary of State         produced

                              Memo from Mike Rothenberg to member with
                              attachment, Amended and Restated Operating
  21                          Agreement of Rothenberg Ventures 2015 Fund, LLC,           ROTHENBERG_DUCOFF_000104 ROTHENBERG_DUCOFF_000163
                              attaching Amended and Restated Management
                              Agreement
                              Amended and Restated Operating Agreement of
  22                          Rothenberg Ventures 2015 Fund, LLC, attaching              RVMC-00001054                    RVMC-00001095
                              Amended and Restated Management Agreement
                              Rothenberg Ventures 2015 Fund, LLC, Summary of
  23                          Principal Terms and Confidential Private Offering          ROTHENBERG_DUCOFF_000070 ROTHENBERG_DUCOFF_000103
                              Memorandum for 2015 Fund
                              Operating Agreement of Rothenberg Ventures 2015
  24                                                                                     RVMC-00001017                    RVMC-00001047
                              Fund A, LLC, dated 02/18/2015

                              Rothenberg Ventures 2016 Fund, LLC, organizing             Bates-numbered documents to be
  25
                              documents filed with California Secretary of State         produced

                              Rothenberg Ventures 2016 Fund, L.P. - Wiring
                              instructions, Summary of Principal Terms, Amended
  26                                                                                     SEC-DOJ-EPROD-000032997          SEC-DOJ-EPROD-000033128
                              and Restated Limited Partnership Agreement, and
                              Subscription Agreement and Investor Questionnaire

                              Rothenberg Ventures 2016 Fund, L.P., Amended and
  27                                                                                     RVMC-00001096                    RVMC-00001158
                              Restated Limited Partnership Agreement
                              Rothenberg Ventures 2016 Fund, L.P., Second
                              Amended and Restated Limited Partnership                   SEC-DOJ-EPROD-000087186          SEC-DOJ-EPROD-000087247
  28
                              Agreement and Subscription Agreement and Investor          (RVMC00033746)                   (RVMC00033807)
                              Questionnaire

                              Quickbooks accounting records produced by RVMC
  29                          in 8/2017, including all entries, general ledgers, audit   US-RVMC-005647                   US-RVMC-005686
                              trails, for RVMC, funds and all entities

                              Quickbooks accounting records produced by RVMC
  30                          in 8/2020, including all entries, general ledgers, audit   QBO-000001                       QBO-000006
                              trails for RVMC, funds and all entities

                              Spreadsheet with tabs 2013, 2014, 2015, 2016, Master
  31                          List, Investor Master List (UNSORTED), Investor      SEC-DOJ-EPROD-000050141                SEC-DOJ-EPROD-000050141
                              Master List

  32                          Rothenberg Ventures 2015 Fund, LLC Audit Trail             SEC-USAO-EPROD-000000071         SEC-USAO-EPROD-000000071

                              Quickbooks records for Annual Funds, RVMC, and
  33                                                                                     SEC-DOJ-EPROD-000092799          SEC-DOJ-EPROD-000092803
                              River Studios
  34                          Fund I SEC Form D                                          US-002566                        US-002570
  35                          Fund II SEC Form D                                         US-002571                        US-002575
  36                          Fund II Amended SEC Form D                                 US-002576                        US-002580
  37                          2015 Fund SEC Form D                                       US-002549                        US-002553
  38                          2015 Fund Amended SEC Form D                               US-002554                        US-002558
  39                          2016 Fund SEC Form D                                       US-002559                        US-2565
                              Rothenberg Ventures Management Company, LLC,
                              U.S. Return of Partnership Income, 2012 [defendant
  40                                                                                     IRS_ITR-000258                   IRS_ITR-000274
                              Rothenberg's SSN redacted; other individual's SSN's
                              and addresses redacted]
                              Rothenberg Ventures Management Company, LLC,
                              U.S. Return of Partnership Income, 2013 [defendant
  41                                                                                     IRS_ITR-000238                   IRS_ITR-000257
                              Rothenberg's SSN redacted; other individual's SSN's
                              and addresses redacted]




                                                                        Page 2
                   Case 4:20-cr-00266-JST Document 245 Filed 08/25/23 Page 5 of 32


 TRIAL
          MARKED   ADMITTED             DESCRIPTION OF EXHIBIT                                BEGBATES                        ENDBATES
EXHIBIT
                              Rothenberg Ventures Management Company, LLC,
                              U.S. Return of Partnership Income, 2014 [defendant
  42                                                                                IRS_ITR-000327                   IRS_ITR-000356
                              Rothenberg's SSN redacted; other individual's SSN's
                              and addresses redacted]
                              Rothenberg Ventures Management Company, LLC,
                              U.S. Return of Partnership Income, 2015 [defendant    Bates-numbered documents to be
  43
                              Rothenberg's SSN redacted; other individual's SSN's   produced
                              and addresses redacted]
                              Rothenberg Ventures Fund II, U.S. Return of
  44                                                                                IRS_ITR-000897                   IRS_ITR-000986
                              Partnership Income, 2013
                              Rothenberg Ventures Fund II, U.S. Return of
  45                                                                                IRS_ITR-000736                   IRS_ITR-000846
                              Partnership Income, 2014
                              Rothenberg Ventures Fund II, U.S. Return of
  46                                                                                IRS_ITR-001156                   IRS_ITR-001213
                              Partnership Income, 2015
                              Rothenberg Ventures 2014 Fund, U.S. Return of
  47                                                                                IRS_ITR-001759                   IRS_ITR-001815
                              Partnership Income, 2016
                              Rothenberg Ventures 2014 Fund, U.S. Return of
  48                                                                                IRS_ITR-001978                   IRS_ITR-002122
                              Partnership Income, 2017
                              Rothenberg Ventures 2015 Fund, U.S. Return of
  49                                                                                IRS_ITR-003233                   IRS_ITR-003292
                              Partnership Income, 2015
  50                          IRS- K-1s for 2015 Fund from IRS 2015/12 Tax year IRS_ITR-003311                       IRS_ITR-003312

                              Rothenberg Ventures 2015 Fund, U.S. Return of
  51                                                                                IRS_ITR-003397                   IRS_ITR-003546
                              Partnership Income, 2016
  52                          IRS- K-1s for 2015 Fund from IRS 2016/12 Tax year IRS_ITR-003342                       IRS_ITR-003343

                              Rothenberg Ventures 2015 Fund, U.S. Return of
  53                                                                                IRS_ITR-003547                   IRS_ITR-003693
                              Partnership Income, 2017
  54                          IRS- K-1s for 2015 Fund from IRS 2017/12 Tax year IRS_ITR-003643                       IRS_ITR-003644

                              Rothenberg Ventures 2016 Fund, U.S. Return of
  55                                                                                IRS_ITR-003853                   IRS_ITR-003923
                              Partnership Income, 2016
                              Rothenberg Ventures 2016 Fund, U.S. Return of
  56                                                                                IRS_ITR-003948                   IRS_ITR-004041
                              Partnership Income, 2017

                              Michael Rothenberg, U.S. Individual Income Tax
  57                                                                                IRS_ITR-000025                   IRS_ITR-000083
                              Return, 2013 [defendant Rothenberg's SSN redacted]

                              Michael Rothenberg, U.S. Individual Income Tax
  58                                                                                IRS_ITR-000120                   IRS_ITR-000175
                              Return, 2014 [defendant Rothenberg's SSN redacted]

                              Michael Rothenberg, U.S. Individual Income Tax
  59                                                                                IRS_ITR-000084                   IRS_ITR-000099
                              Return, 2015 [defendant Rothenberg's SSN redacted]

                              Michael Rothenberg, U.S. Individual Income Tax
  60                                                                                IRS_ITR-000210                   IRS_ITR-000237
                              Return, 2016 [defendant Rothenberg's SSN redacted]

  61                          FDIC Certificate of Insurance for Silicon Valley Bank FDIC-000006                      FDIC-000007




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                   Case 4:20-cr-00266-JST Document 245 Filed 08/25/23 Page 6 of 32


 TRIAL
          MARKED   ADMITTED             DESCRIPTION OF EXHIBIT                               BEGBATES                        ENDBATES
EXHIBIT
                                                                                   SVB-0001890 (first tranche)     SVB-0002048 (first tranche)
                                                                                   SVB-0004220                     SVB-0004223
                                                                                   SVB-0004224                     SVB-0004231
                                                                                   SVB-0004232                     SVB-0004281
                                                                                   SVB-0009254                     SVB-0004261
                                                                                   US-RVMC-005635                  US-RVMC-005642
                                                                                   US-RVMC-005625                  US-RVMC-005628
                                                                                   US-RVMC-005615                  US-RVMC-005618
                                                                                   US-RVMC-005519                  US-RVMC-005522
                                                                                   US-RVMC-005535                  US-RVMC-005538
                                                                                   US-RVMC-005527                  US-RVMC-005528
                                                                                   US-RVMC-005585                  US-RVMC-005586
                                                                                   US-RVMC-005497                  US-RVMC-005498
                                                                                   US-RVMC-005603                  US-RVMC-005604
                              Silicon Valley Bank statement of account ending 9185
62                                                                                 US-RVMC-005575                  US-RVMC-005576
                              4/2015 to 9/30/2018
                                                                                   US-RVMC-005557                  US-RVMC-005558
                                                                                   US-RVMC-005513                  US-RVMC-005514
                                                                                   US-RVMC-005643                  US-RVMC-005644
                                                                                   US-RVMC-005629                  US-RVMC-005630
                                                                                   US-RVMC-005619                  US-RVMC-005520
                                                                                   US-RVMC-005523                  US-RVMC-005524
                                                                                   US-RVMC-005539                  US-RVMC-005540
                                                                                   US-RVMC-005529                  US-RVMC-005530
                                                                                   US-RVMC-005587                  US-RVMC-005588
                                                                                   US-RVMC-005499                  US-RVMC-005500
                                                                                   US-RVMC-005605                  US-RVMC-005606
                                                                                   US-RVMC-005577                  US-RVMC-005578
                                                                                   US-RVMC-005559                  US-RVMC-005560
                                                                                   US-RVMC-005515                  US-RVMC-005516
                                                                                   SVB-0000141                     SVB-0000596
                              Silicon Valley Bank statement of account ending 8931 SVB-0004022                     SVB-0004020
     63
                              9/2012 to 4/2018                                     SVB-0004030                     SVB-0004049
                                                                                   SVB-0004050                     SVB-0004157
                                                                                   SVB-0000011                     SVB-0000140
                                                                                   SVB-0002802                     SVB-0002805
                              Silicon Valley Bank statement of account ending 2623 SVB-0004330                     SVB-0004333
     64
                              9/2012 to 8/2016                                     SVB-0004334                     SVB-0004343
                                                                                   SVB-0004344                     SVB-0004383
                                                                                   US-RVMC-001323                  US-RVMC-001324

                                                                                   SVB-0001322 (first tranche)     SVB-0001440 (first tranche)
                                                                                   SVB-0004158                     SVB-0004161
                                                                                   SVB-0004162                     SVB-0004169
                              Silicon Valley Bank statement of account ending 7483 SVB-0004170                     SVB-0004219
     65
                              9/52013 to 8/2016                                    SVB-0009182                     SVB-0009189
                                                                                   RVMC00030864 (second tranche)   RVMC00038158 (second tranche)
                                                                                   US-RVMC-003771 (third tranche   US-RVMC (third tranche)
                                                                                   not in order)                   (not in order)

                              Silicon Valley Bank statement of account ending 7429 SEC-DOJ-EPROD-000107559         SEC-DOJ-EPROD-000107717
     66
                              4/1/2015 to 8/31/2016                                (SEC-SVB-E-0009701)             (SEC-SVB-0009786)

                                                                                   SVB-0001704                     SVB-0001771
                                                                                   SVB-0004794                     SVB-0004797
                              Silicon Valley Bank statement of account ending 2235
     67                                                                            SVB-0004798                     SVB-0004805
                              7/1/2016 to 2/28/2018
                                                                                   SVB-0004806                     SVB-0004841
                                                                                   SVB-0008966                     SVB-0008973

                              Silicon Valley Bank statement of account ending 0460
     68                                                                            SVB-0002777                     SVB-0002799
                              12/1/2015 to 8/31/2016

                              Silicon Valley Bank statement of account ending 3208
     69                                                                            SVB-0001585                     SVB-0001613
                              11/18/2013 to 9/30/2018




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                   Case 4:20-cr-00266-JST Document 245 Filed 08/25/23 Page 7 of 32


 TRIAL
          MARKED   ADMITTED             DESCRIPTION OF EXHIBIT                              BEGBATES                        ENDBATES
EXHIBIT
                              Silicon Valley Bank statement of account ending 8720
  70                                                                               SVB-0002303                    SVB-0002324
                              4/1/2015 to 7/31/2016

                              Silicon Valley Bank statement of account ending 7368
                                                                                   SVB-0001218 (first tranche)    SVB-0001321 (first tranche)
  71                          8/22/2013 to 9/30/2016
                                                                                   SVB-0004662 (second tranche)   SVB-0004697 (second tranche)
                              10/1/2016 to 2/28/2016

                              Silicon Valley Bank statement of account ending 8701
  72                                                                               SVB-0002278                    SVB-0002299
                              5/1/2016 to 8/31/2016

                              Silicon Valley Bank statement of account ending 1827
  73                                                                               SVB-0002258                    SVB-0002261
                              7/1/2016 to 7/31/2016

                                                                                   SVB-0001685                    SVB-0001687
                              Silicon Valley Bank statement of account ending 8782 SVB-0005466                    SVB-0005469
  74
                              12/23/2015 to 12/31/2015                             SVB-0005470                    SVB-0005513
                                                                                   SVB-0009222                    SVB-0009229
                                                                                   SVB-0000597                    SVB-0000615
                                                                                   SVB-0004746                    SVB-0004749
                              Silicon Valley Bank statement of account ending 8797
  75                                                                               SVB-0004750                    SVB-0004757
                              12/29/2015 to 12/31/2018
                                                                                   SVB-0004758                    SVB-0004793
                                                                                   SVB-0009230 (SVB_G0001616)     SVB-0009230 (SVB_G0001623)

                              Silicon Valley Bank statement of account ending 0574
  76                                                                               SVB-0002204                    SVB-0002226
                              12/3/2015 to 7/31/2016

                                                                                   SVB-0002746                    SVB-0002776
                                                                                   SVB-0002829                    SVB-0002859
                              Silicon Valley Bank statement of account ending 0815 SVB-0004594                    SVB-0004597
  77
                              5/1/2016 to 5/31/2016                                SVB-0004598                    SVB-0004605
                                                                                   SVB-0004606                    SVB-0004647
                                                                                   SVB-0008934                    SVB-0008941
                                                                                   SVB-0003900                    SVB-0003973
                              Silicon Valley Bank statement of account ending 2874
  78                                                                               SVB-0008982 (SVB_G0001368)     SVB-0008982 (SVB_G0001445)
                              8/28/2014 to 12/31/2018
                                                                                   SVB-0009060 (SVB_G0001446)     SVB-0009060 (SVB_G0001463)
                                                                                   SVB-0002086                    SVB-0002114
                                                                                   SVB-0002802                    SVB-0002805
                              Silicon Valley Bank statement of account ending 8986 SVB-0005226                    SVB-0005229
  79
                              7/8/2015 to 8/31/2016                                SVB-0005230                    SVB-0005237
                                                                                   SVB-0005238                    SVB-0005273
                                                                                   SVB-0009246                    SVB-0009253
                              Silicon Valley Bank statement of account ending 7746
  80                                                                               SVB-0001831                    SVB-0001889
                              4/25/2014 to 8/31/2016
                              Silicon Valley Bank statement of account ending 7731
  81                                                                               SVB-0001772                    SVB-0001830
                              4/25/2014 to 8/31/2016
                                                                                   SVB-0002134                    SVB-0002156
                                                                                   SVB-0002802                    SVB-0002805
                                                                                   SVB-0008942                    SVB-0008949
                                                                                   SEC-DOJ-EPROD-000106489        SEC-DOJ-EPROD-000106524
                              Silicon Valley Bank statement of account ending 0834
  82                                                                                 (SEC-SVB-E-0008558)            (SEC-SVB-E-0008593)
                              10/22/2015 to 08/31/2016
                                                                                   SEC-DOJ-EPROD-000108076        SEC-DOJ-EPROD-000108083
                                                                                     (SEC-SVB-E-00010145)           (SEC-SVB-E-00010152)
                                                                                   SEC-D0J-EPROD-000108443        SEC-D0J-EPROD-000108446
                                                                                     (SEC-SVB-E-00010512)           (SEC-SVB-E-00010515)
                                                                                   SVB-0002185                    SVB-0002203
                                                                                   SVB-0004432                    SVB-0004435
                              Silicon Valley Bank statement of account ending 0555
  83                                                                               SVB-0004436                    SVB-0004443
                              12/3/2015 to 08/31/2016
                                                                                   SVB-0004444                    SVB-0004479
                                                                                   SVB-0008902                    SVB-0008909

                              Silicon Valley Bank statement of account ending 0562
  84                                                                               SVB-0000700                    SVB-0000776
                              12/27/2012 to 08/31/2016




                                                                   Page 5
                   Case 4:20-cr-00266-JST Document 245 Filed 08/25/23 Page 8 of 32


 TRIAL
          MARKED   ADMITTED             DESCRIPTION OF EXHIBIT                              BEGBATES                       ENDBATES
EXHIBIT
                              Silicon Valley Bank statement of account ending 7353
  85                                                                               SVB-0001146                     SVB-0001216
                              8/31/2013 to 8/31/2016

                              Silicon Valley Bank statement of account ending 3272
  86                                                                               SVB-0001518                     SVB-0001584
                              10/22/2013 to 8/31/2016

                              Silicon Valley Bank statement of account ending 0657
  87                                                                               SVB-0000927                     SVB-0001005
                              02/15/2013 to 08/31/2016

                              Silicon Valley Bank statement of account ending 8064
  88                                                                               SVB-0000616                     SVB-0000699
                              11/16/2012 to 8/31/2016

                              Silicon Valley Bank statement of account ending 3268
  89                                                                               SVB-0001441                     SVB-0001517
                              10/22/2013 to 8/31/2016

                              Silicon Valley Bank statement of account ending 3689 SEC-DOJ-EPROD-000107006         SEC-DOJ-EPROD-000107041
  90
                              9/1/2016 to 02/28/2018                               (SEC-SVB-E-0009075)             (SEC-SVB-E-0009110)

                              Silicon Valley Bank statement of account ending 3693
  91                                                                               SVB-0001076                     SVB-0001145
                              5/8/2013 to 8/31/2016

                              Silicon Valley Bank statement of account ending 5204
  92                                                                               SVB-0002049                     SVB-0002085
                              2/24/2015 to 8/31/2016

                              Silicon Valley Bank statement of account ending 6205
  93                                                                               SVB-0000777                     SVB-0000851
                              2/13/2013 to 8/31/2016

                              Silicon Valley Bank statement of account ending 6224
  94                                                                               SVB-0000852                     SVB-0000926
                              2/12/2013 to 8/31/2016

                              Silicon Valley Bank statement of account for loan
  95                          ending 7324                                         SVB-0009296                      SVB-0009329
                              12/31/2015 to 9/27/2018
                                                                                  Bates-numbered documents to be
  96                          FDIC Certificate of Insurance for Bank of America
                                                                                  produced
                                                                                  BOA-0000303                      BOA-0000318
                                                                                  BOA-0000331                      BOA-0000336
                                                                                  BOA-0000345                      BOA-0000350
                                                                                  BOA-0000359                      BOA-0000366
                                                                                  BOA-0000379                      BOA-0000384
                                                                                  BOA-0000393                      BOA-0000398
                                                                                  BOA-0000411                      BOA-0000416
                                                                                  BOA-0000429                      BOA-0000434
                              Bank of America statement of account ending 2573    BOA-0000447                      BOA-0000452
  97
                              3/24/2015 to 11/21/2016                             BOA-0000463                      BOA-0000468
                                                                                  BOA-0000483                      BOA-0000492
                                                                                  BOA-0000507                      BOA-0000512
                                                                                  BOA-0000523                      BOA-0000528
                                                                                  BOA-0000541                      BOA-0000550
                                                                                  BOA-0000561                      BOA-0000568
                                                                                  BOA-0000573                      BOA-0000580
                                                                                  BOA-0000585                      BOA-0000592
                                                                                  BOA-0003182                      BOA-0003193

                              Bank of America statement of account ending 0307
  98                                                                              BOA-0000351                      BOA-0000584
                              6/27/2015 to 8/29/2016

                              Bank of America statement of account ending 8746
  99                                                                              BOA-0005340                      BOA-0005245
                              11/1/2017 to 12/31/2017

                              Bank of America statement of account ending 4323
  100                                                                             BOA-0004868                      BOA-0004885
                              7/11/2015 to 11/5/2015




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 TRIAL
          MARKED   ADMITTED             DESCRIPTION OF EXHIBIT                           BEGBATES                  ENDBATES
EXHIBIT
                              Bank of America statement of account ending 3459
  101                                                                            BOA-0004792               BOA-0004797
                              11/2/2015 to 2/12/2016

                              Bank of America statement of account ending 5464
  102                                                                            BOA-0005040               BOA-0005065
                              8/1/2015 to 12/31/2015

                              Bank of America statement of account ending 8801
  103                                                                            BOA-0005351               BOA-0005360
                              10/1/2017 to 11/30/2017

                              Bank of America statement of account ending 0264
  104                                                                            BOA-0002011               BOA-0002100
                              8/7/2017 to 9/30/2018
                                                                                 SEC-DOJ-EPROD-000102099   SEC-DOJ-EPROD-000102106
                                                                                 SEC-DOJ-EPROD-000102125   SEC-DOJ-EPROD-000102128
                                                                                 SEC-DOJ-EPROD-000102145   SEC-DOJ-EPROD-000102148
                                                                                 SEC-DOJ-EPROD-000102163   SEC-DOJ-EPROD-000102168
                                                                                 SEC-DOJ-EPROD-000102187   SEC-DOJ-EPROD-000102190
                                                                                 SEC-DOJ-EPROD-000102211   SEC-DOJ-EPROD-000102216
                              Bank of America statement of account ending 0879   SEC-DOJ-EPROD-000102235   SEC-DOJ-EPROD-000102238
  105
                              11/1/2017 to 9/30/2018                             SEC-DOJ-EPROD-000102259   SEC-DOJ-EPROD-000102262
                                                                                 SEC-DOJ-EPROD-000102283   SEC-DOJ-EPROD-000102288
                                                                                 SEC-DOJ-EPROD-000102311   SEC-DOJ-EPROD-000102316
                                                                                 SEC-DOJ-EPROD-000102343   SEC-DOJ-EPROD-000102350
                                                                                 SEC-DOJ-EPROD-000102379   SEC-DOJ-EPROD-000102384
                                                                                 SEC-DOJ-EPROD-000102407   SEC-DOJ-EPROD-000102416
                                                                                 SEC-DOJ-EPROD-000102441   SEC-DOJ-EPROD-000102446
                              Bank of America statement of account ending 1159
  106                                                                            BOA-0001366               BOA-0001493
                              8/20/2016 to 9/8/2018
                              Bank of America statement of account ending 2708
  107                                                                            BOA-0003421               BOA-0003560
                              9/13/2016 to 9/30/2018
                              Bank of America statement of account ending 2847
  108                                                                            BOA-0003771               BOA-0003946
                              8/22/2016 to 9/30/2018

                              Bank of America statement of account ending 3459
  109                                                                            BOA-0000407               BOA-0000560
                              11/2/2015 to 7/15/2016

                              Bank of America statement of account ending 4029
  110                                                                            BOA-0001244               BOA-0001365
                              11/7/2016 to 8/6/2018




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 TRIAL
          MARKED   ADMITTED             DESCRIPTION OF EXHIBIT                            BEGBATES                  ENDBATES
EXHIBIT
                                                                                  SEC-DOJ-EPROD-000100727   SEC-DOJ-EPROD-000100730
                                                                                  SEC-DOJ-EPROD-000100823   SEC-DOJ-EPROD-000100736
                                                                                  SEC-DOJ-EPROD-000100841   SEC-DOJ-EPROD-000100740
                                                                                  SEC-DOJ-EPROD-000100857   SEC-DOJ-EPROD-000100744
                                                                                  SEC-DOJ-EPROD-000100871   SEC-DOJ-EPROD-000100750
                                                                                  SEC-DOJ-EPROD-000100885   SEC-DOJ-EPROD-000100756
                                                                                  SEC-DOJ-EPROD-000100897   SEC-DOJ-EPROD-000100762
                                                                                  SEC-DOJ-EPROD-000100909   SEC-DOJ-EPROD-000100768
                                                                                  SEC-DOJ-EPROD-000100919   SEC-DOJ-EPROD-000100774
                                                                                  SEC-DOJ-EPROD-000100927   SEC-DOJ-EPROD-000100780
                                                                                  SEC-DOJ-EPROD-000100937   SEC-DOJ-EPROD-000100786
                                                                                  SEC-DOJ-EPROD-000100945   SEC-DOJ-EPROD-000100792
                                                                                  SEC-DOJ-EPROD-000100955   SEC-DOJ-EPROD-000100798
                                                                                  SEC-DOJ-EPROD-000100963   SEC-DOJ-EPROD-000100804
                              Bank of America statement of account ending 5475
  111                                                                             SEC-DOJ-EPROD-000100971   SEC-DOJ-EPROD-000100810
                              1/1/2014 to 8/31/2018
                                                                                  SEC-DOJ-EPROD-000100979   SEC-DOJ-EPROD-000100816
                                                                                  SEC-DOJ-EPROD-000100993   SEC-DOJ-EPROD-000100828
                                                                                  SEC-DOJ-EPROD-000101001   SEC-DOJ-EPROD-000100846
                                                                                  SEC-DOJ-EPROD-000101009   SEC-DOJ-EPROD-000100862
                                                                                  SEC-DOJ-EPROD-000101023   SEC-DOJ-EPROD-000100878
                                                                                  SEC-DOJ-EPROD-000101033   SEC-DOJ-EPROD-000100890
                                                                                  SEC-DOJ-EPROD-000101045   SEC-DOJ-EPROD-000100902
                                                                                  SEC-DOJ-EPROD-000101057   SEC-DOJ-EPROD-000100914
                                                                                  SEC-DOJ-EPROD-000101065   SEC-DOJ-EPROD-000100922
                                                                                  SEC-DOJ-EPROD-000101075   SEC-DOJ-EPROD-000100932
                                                                                  SEC-DOJ-EPROD-000101085   SEC-DOJ-EPROD-000100940
                                                                                  SEC-DOJ-EPROD-000101099   SEC-DOJ-EPROD-000100950
                                                                                  SEC-DOJ-EPROD-000101107   SEC-DOJ-EPROD-000100958
                                                                                  SEC-DOJ-EPROD-000101099   SEC-DOJ-EPROD-000100966
                              Bank of America statement for Transcend VR LLC
  112                                                                             BOA-0005667               BOA-0005670
                              account 4676, 2/24/2016 to 2/29/2016
                              Bank of America statement for Transcend VR LLC
                              account 4676, 2/24/2016 to 2/29/2016, documenting
  113                                                                             BOA-0005667               BOA-0005670
                              wire transfer of $2,000,000 to Bend Reality SVB
                              account 9185
                              Bank of America record documenting movement of
  114                         funds to Transcend VR LLC account 4676 from         BOA-0006272               BOA-0006279
                              account 9550, 2/25/2016, redacted
                              Bank of America statement for Pilot Grove
                              Management LLC account 0843, 6/1/2016 to
  115                                                                             BOA-0005707               BOA-0005718
                              6/30/2016, documenting 6/13/2016 wire transfer to
                              2016 Fund 0815 account
                              Merrill Lynch statement of account ending 6052
  116                                                                             SEC-MLPFS-E-0000001       SEC-MLPFS-E-0000054
                              5/31/2014 to 12/31/2014
                              Merrill Lynch statement of account ending 6052
  117                                                                             SEC-MLPFS-E-0000066       SEC-MLPFS-E-0000137
                              1/1/2015 to 10/30/2015
                              American Express records for account ending
  118                         9-01004                                             AMEX-00000001             AMEX-00000394
                              June 2015 to April 2016
                              American Express records for account ending
  119                         9-02002                                             AMEX-00000395             AMEX-00000471
                              April 2016 to August 2016
                              American Express records for account ending
  120                         9-03000                                             AMEX-00000473             AMEX-00000500
                              August 2016 to October 2016
                              American Express records for account ending
  121                         2-84009                                             AMEX-00000678             AMEX-00000717
                              December 2014 to February 2015
                              American Express records for account ending
  122                         2-84009                                             AMEX-00001178             AMEX-00001398
                              February 2015 to October 2016




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          MARKED   ADMITTED             DESCRIPTION OF EXHIBIT                              BEGBATES            ENDBATES
EXHIBIT
                              American Express records for account ending
  123                         2-86004                                               AMEX-00000718      AMEX-00000951
                              December 2014 to August 2016
                              American Express records for account ending
  124                         2-87002                                               AMEX-00000952      AMEX-00000967
                              August 2016 to September 2016
                              American Express records for account ending
  125                         0-22000                                               AMEX-00000968      AMEX-00000988
                              August 2016 to September 2016
                              American Express records for account ending
  126                         1-52005 and 1-53003                                   AMEX-00000989      AMEX-00001177
                              August 2016 to September 2016
                              American Express records for account ending
  127                         1-54001                                               AMEX-00001399      AMEX-00001566
                              October 2015 to August 2016
                              American Express records for account ending
  128                         1-55008                                               AMEX-00001568      AMEX-00001587
                              August 2016 to September 2016
                              American Express records for account ending
  129                         1-53003                                               AMEX-00002627      AMEX-00002627
                              December 2014 to October 2015
                              American Express records for account ending
  130                         1-55008                                               AMEX-00003050      AMEX-00003050
                              September 2016 to March 2017
                              American Express records for accounts ending -3001, -
  131                                                                               AMEX-00003051      AMEX-00003535
                              4009, -6004, and -7002
                              Bank of San Francisco statements for account ending
  132                                                                               US-BOFSF-016595    US-BOFSF-016606
                              2491 4/30/2015 to 12/31/2015
                              5/10/2016 email chain between Michael Rothenberg
  133                         and Andy Stack re: River Studios, stating "I own and ASTACK-000016       ASTACK-000017
                              control River Studios"
                              8/19/2016 text string between Mike Rothenberg and
  134                         Jonah Loop re: Ewan Johnson, Unity, and charge to     JLOOP-000145       JLOOP-000146
                              Amex
                              Records regarding numerous wire transfers of funds to
  135                         and from Rothenberg entities (from database at US-    US-FBI-010793      US-FBI-010895
                              FBI-008827)
                              Federal Reserve Record (Fedwire) documenting
                              2/25/2016 transfer of $2,000,000 from Transcend VR To be produced
  136
                              LLC's bank account to Bend Reality's bank account
                              (See US-FBI-008827)

                              Federal Reserve Record (Fedwire) documenting
                              7/15/2016 transfer of $1,000,000 from GHF, Inc.    To be produced
  137
                              LLC's bank account to Rothenberg Ventures CoFund
                              (see US-FBI-010829 to US-FBI-010832)

                              Federal Reserve Record (Fedwire) documenting
                              7/19/2016 transfer of $100,000 from Binns' bank     To be produced
  138
                              account to Rothenberg Ventures CoFund (see US-FBI-
                              010813 to US-FBI-010816)
                              Federal Reserve Record (Fedwire) documenting
                              7/21/2016 transfer of $50,000 from Konishi's bank   To be produced
  139
                              account to Rothenberg Ventures CoFund (see US-FBI-
                              010880 to US-FBI-010883)
                              Federal Reserve Record (Fedwire) documenting
                              7/21/2016 transfer of $100,000 from Goldberg's bank To be produced
  140
                              account to Rothenberg Ventures CoFund (see US-FBI-
                              010856 to US-FBI-010859)




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 TRIAL
          MARKED   ADMITTED             DESCRIPTION OF EXHIBIT                                BEGBATES                ENDBATES
EXHIBIT
                              Federal Reserve Record (Fedwire) documenting
                              4/6/2015 transfer of $1,250,000 from Tubus' bank    To be produced
  141
                              account to Rothenberg Ventures 2015 Fund (see US-
                              FBI-010892 to US-FBI-010895)
                              Federal Reserve Record (Fedwire) documenting
                              4/28/2015 transfer of $1,000,000 from GHF Inc.'s    To be produced
  142
                              bank account to Rothenberg Ventures 2015 Fund (see
                              US-FBI-009855)
                              Federal Reserve Record (Fedwire) documenting
                              7/31/2015 transfer of $1,999,975 from HTC
  143                                                                             To be produced
                              Corporation's bank account to Rothenberg Ventures
                              2015 Fund (see US-FBI-009855)
                              Federal Reserve Record (Fedwire) documenting
                              12/17/2015 transfer of $100,000 from Menezes's bank
  144                                                                             To be produced
                              account to Rothenberg Ventures 2015 Fund (see US-
                              FBI-010821 to US-FBI-010824)
                              Federal Reserve Record (Fedwire) documenting
                              12/24/2015 transfer of $100,000 from Menezes's bank
  145                                                                             To be produced
                              account to Rothenberg Ventures 2015 Fund (see US-
                              FBI-010888 to US-FBI-010891)

                              Federal Reserve Record (Fedwire) documenting
                              12/24/2015 transfer of $625,000 from CY Capital's  To be produced
  146
                              bank account to Rothenberg Ventures 2016 Fund (see
                              US-FBI-010817 to US-FBI-010820)

                              Federal Reserve Record (Fedwire) documenting
                              12/28/2015 transfer of $3,000,000 from ARChina's
  147                                                                               To be produced
                              bank account to Rothenberg Ventures 2016 Fund (see
                              US-FBI-008827)
                              Federal Reserve Record (Fedwire) documenting
                              7/27/2016 transfer of $1,800,000 from Korea
  148                         Investment Partners' bank account to Rothenberg       To be produced
                              Ventures 2016 Feeder Fund (see US-FBI-010884 to
                              US-FBI-010887)
                              11/23/2015 email from Lynne McMillan to Mike                                    SEC-DOJ-EPROD-000059413
                                                                                    SEC-DOJ-EPROD-000059411
  149                         Rothenberg, cc: Tom Leep re: "Year End                                          (RVMC00016197)
                                                                                    (RVMC00016195)
                              Transactions," with attachment
                              12/17/2015 email from Lynne McMillan to Mike          SEC-DOJ-EPROD-000061662   SEC-DOJ-EPROD-000061663
  150
                              Rothenberg re: "[Priority] Cash"                      (RVMC00018446)            (RVMC00018447)
                              12/23/2015 email from Lynne McMillan to Mike          SEC-DOJ-EPROD-000068875   SEC-DOJ-EPROD-000068877
  151
                              Rothenberg re: "UPDATED Cash"                         (RVMC00025659)            (RVMC00025661)
                              12/23/2015 email from Lynne McMillan to Mike          US-FBI-005757             US-FBI-005760
  152
                              Rothenberg re: "UPDATED : Cash"
                              12/23/2015 email from Lynne McMillan to Mike
  153                                                                               SVB-0009902               SVB-0009905
                              Rothenberg re: "UPDATED : Cash"
                              12/23/2015 to 12/25/2015 email chain involving
  154                         Rothenberg, Judy Lee, Frank Amoroso, and others re:   SVB-0010215               SVB-0010218
                              "SVB LoC secured by cash"

                              12/23/2015 to 12/29/2015 email chain involving
  155                                                                               SVB-0009928               SVB-0009935
                              Rothenberg, Judy Lee, Frank Amoroso, and others

                              12/23/2015 to 12/29/2015 email chain involving
  156                                                                               SVB-0009960               SVB-0009967
                              Rothenberg, Judy Lee, Frank Amoroso, and others

                              12/23/2015 to 12/28/2015 email chain involving
  157                                                                               SVB-0009952               SVB-0009959
                              Rothenberg, Judy Lee, Frank Amoroso, and others

                              12/23/2015 to 12/29/2015 email chain involving
  158                                                                               SVB-0009968               SVB-0009977
                              Rothenberg, Judy Lee, Frank Amoroso, and others




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 TRIAL
          MARKED   ADMITTED             DESCRIPTION OF EXHIBIT                            BEGBATES                     ENDBATES
EXHIBIT
                              12/23/2015 to 12/29/2015 email chain involving
  159                                                                             SVB-0009999                SVB-0010011
                              Rothenberg, Judy Lee, Frank Amoroso, and others

                              12/23/2015 to 12/29/2015 email chain involving
  160                         Lynne McMillan, Jim Gardner, Judy Lee, Mike         SVB-0009722                   SVB-0009728
                              Rothenberg, and others
                              12/29/2015 email chain involving Mike Rothenberg,
                              Jim Gardner, Lynne McMillan, Tom Leep, Judy Lee
  161                                                                             US-FBI-008090 (SVB_G_0000052) US-FBI-008094 (SVB_G_0000056)
                              and others re: "New Account for Rothenberg Ventures
                              2015 Fund"
                              12/24/2015 email from Mike Rothenberg to Lynne      SEC-DOJ-EPROD-000068903       SEC-DOJ-EPROD-000068903
  162
                              McMillan re: "SVB Transfers"                        (RVMC00025687)                (RVMC00025687)
                              12/24/2015 email from Mike Rothenberg to Lynne      US-FBI-005756                 US-FBI-005756
  163
                              McMillan re: "SVB Transfers"

                              12/28/2015 to 12/29/2015 email chain between Mike   SEC-DOJ-EPROD-000069109    SEC-DOJ-EPROD-000069110
  164
                              Rothenberg and Lynne McMillan re: "My proposal"     (RVMC00025893)             (RVMC00025894)

                              12/23/2015 to 12/29/2015 email chain involving Mike
  165                         Rothenberg, Frank Amoroso, and others re: "SVB LoC SVB-0010376                    SVB-0010379
                              secured by cash"
                              12/29/2015 email chain involving Mike Rothenberg,
  166                         Judy Lee, Frank Amoroso, and others re: "SVB LoC SVB-0010016                      SVB-0010020
                              secured by cash)
                              Email from Gardner to Nevin et al., cc: Group Sand
                              Hill Operations; Lee, dated 12/29/2015 re "Subject:
  167                                                                             US-FBI-008057 (SVB_G_0000019) US-FBI-008072 (SVB_G_0000032)
                              RE: SVB LoC secured by cash - Rothenberg
                              Ventures"
                              12/30/2015 email from Judy Lee to Mike Rothenberg,
                                                                                  SEC-DOJ-EPROD-000069116
  168                         cc: Frank Amoroso and others re: "SVB LoC secured                                 SEC-DOJ-EPROD-000069151
                                                                                  (RVMC00025900)
                              by cash"
                              12/30/2015 email chain involving Lynne McMillan,
                              Mike Rothenberg, Judy Lee, Frank Amoroso and
  169                                                                             SEC-DOJ-EPROD-000069206       SEC-DOJ-EPROD-000069214
                              others re: "Rothenberg Ventures / SVB LoC (Secured
                              by cash)
                              12/30/2015 email chain involving Lynne McMillan,
                              Mike Rothenberg, Judy Lee, Frank Amoroso and
  170                                                                             SEC-DOJ-EPROD-000069220       SEC-DOJ-EPROD-000069228
                              others re: "Rothenberg Ventures / SVB LoC (Secured
                              by cash)
                              12/30/2015 email chain involving Lynne McMillan
                                                                                  SEC-DOJ-EPROD-000069229       SEC-DOJ-EPROD-000069231
  171                         and Mike Rothenberg re: "Rothenberg Ventures / SVB
                                                                                  (RVMC00026013)                (RVMC00026015)
                              LoC (Secured by cash)"
                              12/30/2015 email from Mike Rothenberg to Jeremiah
                              Nevin, cc: Lynne McMillan, Judy Lee, Frank Amoroso
  172                                                                             SVB-0009813                   SVB-0009815
                              and others re: "Rothenberg Ventures / SVB LoC
                              (Secured by cash)"
                              12/30/2015 email from Judy Lee to Mike Rothenberg
                              and Lynne McMillan, cc: Frank Amoroso and others SEC-DOJ-EPROD-000069251
  173                                                                                                           SEC-DOJ-EPROD-000069284
                              re: "Rothenberg Ventures / SVB LoC (Secured by      (RVMC00026035)
                              cash)"
                              12/30/2015 email from Mike Rothenberg to Jude Lee,
  174                         Frank Amoroso and others re: "Rothenberg Ventures / SVB-0009832                   SVB-0009833
                              SVB LoC (Secured by cash)"

                              Loan and Security Agreement between Silicon Valley US-FBI-008130 (SVB_G_0000092) US-FBI-008159 (SVB_G_0000121)
  175                         Bank and Rothenberg Ventures Management
                              Company dated 12/30/2015

                              3/30/2016 email from Mike Rothenberg to Judy Lee,
  176                         cc: Frank Amoroso and others re: "SVB / Rothenberg SVB-0010921                 SVB-0010923
                              Ventures loan"




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          MARKED   ADMITTED             DESCRIPTION OF EXHIBIT                               BEGBATES                         ENDBATES
EXHIBIT
                              1/3/2017 email from Martin Mayo to Brian Bell and
                                                                                    SEC-DOJ-EPROD-000150642          SEC-DOJ-EPROD-000150654
  177                         others, cc: Mike Rothenberg re: "SVB / Rothenberg
                                                                                    (SVB00002432)                    (SVB00002444)
                              Ventures loan"
                              1/4/2017 email correspondence between Martin Mayo     SEC-DOJ-EPROD-000150584          SEC-DOJ-EPROD-000150585
  178
                              and Brian Bell re: "Wire"                             (SVB00002374)                    (SVB00002375)

                              4/27/2017 email from Martin Mayo to Brain Bell, cc:
  179                                                                               SVB-0007153                      SVB-0007163
                              Mike Rothenberg and others re: "proposed terms"

                              5/18/2017 email from Martin Mayo to Leo Plotkin and
  180                         Mike Rothenberg, cc: Brian Bell and others re:      SVB-0007042                        SVB-0007056
                              "proposed terms"

                              8/21/2017 email from Mike Rothenberg to Brian Bell SEC-DOJ-EPROD-000149140             SEC-DOJ-EPROD-000149142
  181
                              and others re: "SVB/Rothenberg - Follow up"        (SVB0000930)                        (SVB0000932)

                              3/29/2018 email from Rothenberg to J. Marshall, B.
                                                                                    SVB00000001 (SEC-DOJ-EPROD- SVB00000002 (SEC-DOJ-EPROD-
  182                         Bell, and J. Nevin Subject: "Immediate request to
                                                                                    000148211)                  000148212)
                              reimburse for SVB's misappropriation of funds"

                              Michael Rothenberg et al. v. Silicon Valley Bank
  183                                                                               US-FBI-007863                    US-FBI-007876
                              Complaint
                              Owens Financial records regarding Rothenberg
                              Ventures LLC's October 2015 purchase of Folsom
  184                                                                               WAM_001556                       WAM_001618
                              Street Property and documenting transfer of
                              $742,577.41 as "Funds for Closing"
  185                         Owens Realty Mortgage Records                         OWENS_000001                     OWENS_000082
                              Silicon Valley Bank statement of account ending 7429 SEC-DOJ-EPROD-000107688           SEC-DOJ-EPROD-000107693
  186
                              2/1/2016 to 2/29/2016                                (SEC-SVB-E-0009757)               (SEC-SVB-0009761)

                              FDIC Certificate of Insurance for California Bank and Bates-numbered documents to be
  187
                              Trust / Zions Bancorp                                 produced
                              10/9/2015 email from David Frank to Dominic
  188                         Polizzotto and Lawrence Weisman re: "Mike             TVR-0002569                      TVR-0002588
                              Rothenberg…", with attachment
                              11/9/2015 email from David Frank to Dominic
  189                         Polizzotto and Lawrence Weisman re: "Subject: Meet TVR-0000529                         TVR-0000548
                              Mike Rothenberg…," with attachment
                              11/30/2015 email from David Frank to Lawrence
  190                         Weisman re: "Meet Mike Rothenberg . . .", with        TVR-0002792                      TVR-0002812
                              attachment
                              12/1/2015 email chain involving Katie Fanelli,
  191                         Lawrence Weisman, David Frank, re: "Larry             TVR-0003340                      TVR-0003340
                              Weisman/Mike Rothenberg (Meeting …)"
                              1/5/2016 to 1/6/2016 email chain involving David
                              Frank, Domonic Polizzotto, Larry Weisman, Georgia
  192                                                                               TVR-0001408                      TVR-0001411
                              Kinne, and Mike Rothenberg re: "Mike Rothenberg in
                              Vegas for CES this week"
                              1/5/2016 to 1/6/2016 email chain involving David
                              Frank, Domonic Polizzotto, Larry Weisman, Georgia
  193                                                                               TVR-0001412                      TVR-0001415
                              Kinne, and Mike Rothenberg re: "Mike Rothenberg in
                              Vegas for CES this week"
                              1/7/2016 email chain involving Katie Fanelli, David
                              Frank, Dominic Polizzotto, Lawrence Weisman, and
  194                                                                               TVR-0001416                      TVR-0001416
                              Georgia Kinne re: "Mike Rothenberg in Vegas for
                              CES this week"
                              1/7/2016 email from David Frank to Dominic
  195                         Polizzotto/Lawrence (Larry) Weisman re: "Subject:     TVR-0000555                      TVR-0000586
                              River deck", with attachment

                              1/11/2016 email from David Frank to Lawrence
  196                         Weisman, Dominic Polizzotto, and Mike Rothenberg TVR-0000549                           TVR-0000549
                              re: "River Studios: Follow up from our call last week"




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 TRIAL
          MARKED   ADMITTED              DESCRIPTION OF EXHIBIT                               BEGBATES                  ENDBATES
EXHIBIT
                              1/13/2016 email from Dominic Polizzotto to Mike
  197                         Rothenberg, cc: David Frank and Lawrence Weisman TVR-0000643                      TVR-0000643
                              re: "River Studios follow up"
                              1/27/2016 to 1/28/2016 email chain involving
                              Lawrence Weisman, Tommy Leep, David Frank, Mike
  198                         Rothenberg, Katie Fanelli, Dominic Polizzotto, and    TVR-0001422                 TVR-0001422
                              others re: "Pilot Grove's visit to River Studios for
                              Super Bowl Week"
                              Dominic Polizzotto travel itinerary, Las Vegas to San
  199                         Jose to San Francisco to Chicago, 2/2/2016 to         TVR-0000645                 TVR-0000655
                              2/6/2016, with attachments
                              2/4/2016 memo from Larry Weisman to Dominic
  200                         Polizzotto and File re: "Visits to River              TVR-0000149                 TVR-0000152
                              Studios/Rothenberg Ventures"
                              2/5/2016 email from Dominic Polizzotto to Mike
  201                         Rothenberg and others re: "SuperBowl week VIP         TVR-0000656                 TVR-0000656
                              events . . ."
                              2/17/2016 email from Mike Rothenberg to Dominic
                              Polizzotto to Lawrence Weisman re: "River Studios
  202                                                                               TVR-0002162                 TVR-0002163
                              follow up", with attachment (River Studios Diligence
                              List - Pilot Grove)

                              2/17/2016 email from Mike Rothenberg to Dominic
                              Polizzotto and Larry Weisman, cc: David Frank re:       SEC-DOJ-EPROD-000048308   SEC-DOJ-EPROD-000048371
  203
                              "River Studios - Complete Diligence", attaching         (RVMC00005092)            (RVMC00005155)
                              convertible note, investor presentation, and terms

                              River Studios Diligence Materials (Diligence list,
  204                         organization chart, employment contact, income          TVR-0000056               TVR-0000074
                              statement, etc.)

                              2/17/2016 email from Mike Rothenberg to Dominic
                              Polizzotto and Larry Weisman, cc: David Frank re:
  205                                                                                 TVR-0000001               TVR-0000030
                              "River Studios - Complete Diligence", attaching
                              convertible note, investor presentation, and terms

                              9/16/2016 email from Lawrence Weisman to Maryan
  206                         Telling re: "Rothenberg files", attaching diligence TVR-0003944                   TVR-0004018
                              items provided on 2/17/2016
                              2/18/2016 email from Dominic Polizzotto to Mike
  207                         Rothenberg, cc: Lawrence Weisman re: "River Studios TVR-0000660                   TVR-0000660
                              Opportunity"
                              2/19/2016 email from Lawrence Weisman to Dominic
  208                                                                             TVR-0001429                   TVR-0001429
                              Polizzotto re: "Mike Rothenberg"

                              2/18/2016 email from Mike Rothenberg to Lawrence
  209                         Weisman, cc: Dominic Polizzotto re: "Documents",      TVR-0002196                 TVR-0002205
                              attaching Word version of convertible promissory note

                              2/19/2016 email from Lawrence Weisman to Mike
  210                         Rothenberg, cc: Dominic Polizzotto re: "Bend Reality TVR-0001432                  TVR-0001454
                              Promissory Note.docx", attaching Word documents

                              2/22/2016 email chain involving Mike Rothenberg,
                              Lawrence Weisman, Dominic Polizzotto, and Martin
  211                                                                                 TVR-0004378               TVR-0004400
                              Mayo re: "Latest Version of Note", attaching draft of
                              convertible promissory note

                              2/24/2016 email from Mike Rothenberg to Lawrence
                              Weisman, cc: Dominic Polizzotto re: "River Studios -
  212                                                                               TVR-0002232                 TVR-0002233
                              Financials", attaching pro forma financials for River
                              Studios




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 TRIAL
          MARKED   ADMITTED              DESCRIPTION OF EXHIBIT                                BEGBATES            ENDBATES
EXHIBIT
                              2/24/2016 email from Michael Rothenberg to
  213                         Lawrence Weisman, cc: Dominic Polizzotto, re:            TVR-0002237         TVR-0002237
                              "River Studios - Financials"

                              2/24/2016 email chain between Lawrence Weisman
  214                                                                              TVR0003652              TVR0003652
                              and Mike Rothenberg re: "River Studios - Financials"

                              2/24/2016 email from Robert Friedman to Martin
                              Mayo, Lawrence Weisman, Dominic Polizzotto, and
  215                         Mike Rothenberg re: "Attached River Studios Note . . TVR-0004485             TVR-0004509
                              .", attaching clean and redlined copies of note (adding
                              representation regarding capitalization of company)

                              2/24/2016 email from Martin Mayo to Robert
                              Friedman, Lawrence Weisman, Dominic Polizzotto,
  216                                                                                  TVR-0001928         TVR-0001954
                              and Mike Rothenberg re: "Attached River Studios
                              Note . . . ," attaching redline and clean copy of note

  217                         Executed Convertible Promissory Note               TVR-0000358               TVR-0000371
                              Pilot Grove Management LLC record documenting
  218                         wiring of $2 million from Transcend VR LLC account TVR0000145                TVR0000146
                              to Bend Reality LLC account
                              Transcend Bank of America account statement
  219                                                                            BOA-0005667               BOA-0005670
                              showing $2 million transfer
                              3/28/2016 email from Mike Rothenberg to David
                                                                                 SEC-DOJ-EPROD-000048381   SEC-DOJ-EPROD-000048381
  220                         Frank re: "River Studios Working Group update -
                                                                                 (RVMC00005165)            (RVMC00005165)
                              Fundraise (US)"
                              3/28/2016 email from David Frank to Lawrence
  221                         Weisman and Dominic Polizzotto re: "Update on      TVR-0004887               TVR-0004901
                              Rothenberg Ventures . . ."
                              4/1/2016 email from David Frank to Lawrence
  222                         Weisman and Dominic Polizzotto re: "We are fully   TVR-0004902               TVR-0004916
                              allocated on 100M of the fund . . ."

                              4/1/2016 to 4/4/2016 email chain involving David
  223                         Frank, Lawrence Weisman, and Dominic Polizzotto          TVR-0004917         TVR-0004918
                              re: "We are fully allocated on 100M of the fund . . ."

                              4/15/2016 email from Katie Fanelli to Lawrence
  224                         Weisman, cc: Brandon Farwell and others re: "Pilot       TVR-0003349         TVR-0003349
                              Grove / Rothenberg Ventures 2016 Fund"
                              5/11/2016 email from Mike Rothenberg to Dominic
  225                         Polizzotto and Lawrence Weisman cc: Jonah Loop re:       TVR-0001992         TVR-0001992
                              "River Studios - Update"
                              6/7/2016 email from Lawrence Weisman to Mike
  226                         Rothenberg, cc: Dominic Polizzotto and David Frank       TVR-0001580         TVR-0001588
                              re: "Rothenberg Ventures"
                              6/7/2016 email from Geoff Rapoport to Mike
                              Rothenberg, cc: Lawrence Weisman, Dominic
  227                         Polizzotto, Katie Fanelli, and others re: "Rothenberg    TVR-0001207         TVR-0001323
                              Ventures", attaching subscription agreement and
                              limited partnership agreement

                              6/7/2016 email from Mike Rothenberg to Lawrence
  228                         Weisman, cc: Dominic Polizzotto, Katie Fanelli and       TVR-0002245         TVR-0002246
                              others re: "Rothenberg Ventures"

                              6/9/2016 email from Tina Morris to Mike Rothenberg,
                              Katie Fanelli, and others at RVMC, cc: Lawrence
  229                                                                             TVR-0000473              TVR-0000484
                              Weisman, Dominic Polizzotto and others re:
                              "Rothenberg Ventures", attaching executed documents

                              Pilot Grove Bank of America bank statement showing
  230                                                                            BOA-0005707               BOA-0005718
                              $600,000 transfer



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 TRIAL
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EXHIBIT
                              Internal Pilot Grove communications re: $600,000
  231                                                                               TVR-0000147            TVR-0000148
                              investment into Rothenberg Ventures 2016 Fund
                              6/13/2016 email from Geoff Rapoport to Tina Morris,
                              cc: Mike Rothenberg, Katie Fanelli, Dominic
  232                         Polizzotto, Lawrence Weisman, and others re:          TVR-0000297            TVR-0000351
                              "Rothenberg Ventures," attaching fully executed
                              documents
                              2015 Annual Report - 2015 Fund, provided to Pilot
  233                                                                               TVR-0000109            TVR-0000132
                              Grove
                              8/10/2016 email from Justin Grooms to Lawrence
                              Weisman, cc: Mike Rothenberg, re: "Pilot Grove",
  234                                                                               TVR-0003327            TVR-0003333
                              with attachments, concerning amendment to
                              convertible note and side letter

                              8/13/2016 email chain involving Mike Rothenberg,
  235                         Dominic Polizzotto, Lawrence Weisman, and others      TVR-0000931            TVR-0000932
                              re: "Pilot Grove / River Studios"

                              8/16/2016 email from Lawrence Weisman to Mike
  236                         Rothenberg, cc: Dominic Polizzotto and Martin Mayo TVR-0001606               TVR-0001606
                              re: "Amendment"
                              8/21/2016 email from Mike Rothenberg to
  237                         "investors@rothenbergventures.com" re: "Rothenberg TVR-0004601               TVR-0004602
                              Ventures LP Update Letter #1"

                              8/23/2016 email from "Investors Relations" to
  238                         investors@rothenbergventures.com, cc: various people TVR-0004603             TVR-0004606
                              re: "Rothenberg Ventures LP Update Letter #2"

  239                         Transcription of 8/25/2016 investor call              TVR-0000943            TVR-0000954

                              Lawrence Weisman notes re: conversation with Ewan
  240                                                                           TVR-0000076                TVR-0000076
                              Johnson after 8/29/2016 shareholder meeting

                              9/9/2016 email from "Investor Relations" to
  241                         investors@rothenbergventures.com, cc: various people TVR-0004607             TVR-0004607
                              re: "Rothenberg Ventures LP Update Letter (9/9/16)"

                              9/13/2016 email from investors@frontier.tech to
                              investors@frontier.tech, cc: various people re:
  242                                                                            TVR-0004608               TVR-0004608
                              "Frontier Tech Ventures (Rothenberg Ventures) - LP
                              Update Letter (9/13/16)"
                              2/8/2017 Transcend VR, LLC v. Rothenberg
  243                                                                            US-FBI-007363             US-FBI-007394
                              Complaint (San Francisco Superior Court)
                              10/25/2017 email from Dominic Polizzotto to Mike
  244                         Rothenberg, cc: Lawrence Weisman and others re:    TVR-0001109               TVR-0001113
                              "checking in"
                              10/30/2017 Settlement Agreement Release between
                              Transcend VR LLC and Bend Reality, attaching Carry
  245                                                                            TVR-0000031               TVR-0000047
                              Equity Unit Purchase Agreement "made as of
                              February 25, 2016"

                              10/30/2017 letter from Rothenberg Ventures 2016
  246                         Fund GP LLC (signed by Michael Rothenberg) to         TVR-0000052            TVR-0000055
                              Dominic Polizzotto of Transcend Frontier LLC

                              5/13/2016 to 7/20/2016 email chain involving Amy
                                                                                 SEC-DOJ-EPROD-000085014   SEC-DOJ-EPROD-000085018
  247                         Huang, Mike Rothenberg, Dave Haase, Justin Grooms,
                                                                                 (RVMC00031574)            (RVMC00031578)
                              and others re: "Wire info"
                              7/27/2016 email from Mike Rothenberg to Dave       SEC-DOJ-EPROD-000085842   SEC-DOJ-EPROD-000085846
  248
                              Haase and Martin Mayo re: "Wire info"              (RVMC00032402)            (RVMC00032406)
                              7/29/2016 email chain between Mike Rothenberg and SEC-DOJ-EPROD-000049528    SEC-DOJ-EPROD-000049528
  249
                              Justin Grooms                                      (RVMC00006312)            (RVMC00006312)




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EXHIBIT
                              5/2/2016 to 5/26/2016 email chain involving Mike
  250                         Rothenberg, Mike Foley, and others re: "Any update      UT00000003                UT00000004
                              on the round?"
                              5/26/2016 to 6/15/2016 email chain involving Mike
  251                         Rothenberg, Mike Foley, Katie Fanelli, and others re:   UT00000097                UT00000106
                              "Any updated on the round?"
                              6/9/2016 email calendaring 6/13/2016 conference call
  252                                                                                 UT00000053                UT00000053
                              re: "Rothenberg & Unity"
                              6/17/2016 to 6/30/2016 email chain involving Mike
  253                         Rothenberg, Mike Foley, and Tony Garcia re: "Unity      UT00000114                UT00000115
                              intro"
                              6/30/2016 to 7/1/2016 email chain involving Mike
  254                         Rothenberg, Mike Foley, and others re: "Unity /         UT00000139                UT00000142
                              Rothenberg Ventures"
                              7/7/2016 email from DocuSign re: "Updated Unity-
  255                         Rothenberg_Financial Disclosure NDA", attaching         UT00000152                UT00000157
                              Unity Nondisclosure Agreement

                              7/21/2016 email from Nan Kim at Unity to Martin
  256                         Mayo, Mike Rothenberg, and others re: "Moving           UT00000167                UT00000189
                              forward", attaching draft stock transfer agreement

                              8/15/2016 email from Mike Foley to Mike
  257                                                                                 UT00000216                UT00000220
                              Rothenberg, cc: various people re: "Moving forward"

                              8/18/2016 email from Mike Rothenberg to Mike
  258                         Foley, cc: various people re: "Unity - Riccitiello      UT00000341                UT00000342
                              Secondary Call"
                              9/1/2018 email from Mike Rothenberg to Mike Foley
  259                                                                                 UT00000387                UT00000394
                              re: "Moving forward"

                              7/13/2016 email from Mike Rothenberg to Justin
                                                                                    SEC-DOJ-EPROD-000007241     SEC-DOJ-EPROD-000007247
  260                         Grooms, Brandon Farwell, and others cc: Katie Fanelli
                                                                                    (B008022)                   (B008028)
                              and others re: "Unity Co-invest presentation"

                              7/13/2016 email from Justin Grooms to Theo Melas-
  261                         Kyriazi re" "Rothenberg Ventures 2016 Fund - Co-        GHF-0000094               GHF-0000094
                              Invest Opportunity"
                              7/13/2016 email from Justin Grooms to Theo Melas-
                                                                                      SEC-DOJ-EPROD-000007281   SEC-DOJ-EPROD-000007281
  262                         Kyriazi re" "Rothenberg Ventures 2016 Fund - Co-
                                                                                      (B008062)                 (B008062)
                              Invest Opportunity"
                              7/14/2016 email from Justin Grooms to Theo Melas-
                              Kyriazi, cc: Brandon Farwell re: "Rothenberg
                                                                                      SEC-DOJ-EPROD-000007322   SEC-DOJ-EPROD-000007331
  263                         Ventures 2016 Fund - Co-Invest Opportunity -
                                                                                      (B008103)                 (B008112)
                              Details", attaching Summary of Principal Terms and
                              PowerPoint deck

                              7/14/2016 email from Justin Grooms to Theo Melas-
                              Kyriazi, cc: Brandon Farwell, John Melas-Kyriazi and
  264                         others re: "Rothenberg Ventures 2016 Fund - Co-      GHF-0000074                  GHF-0000084
                              Invest Opportunity - Details", with Summary of
                              Principal Terms and PowerPoint deck

                              7/14/2016 email from Theo Melas-Kyriazi to Justin
                              Grooms, cc: Brandon Farwell, John Melas-Kyriazi and
  265                                                                             GHF-0000557                   GHF-0000565
                              others re: "Rothenberg Ventures 2016 Fund - Co-
                              Invest Opportunity - Details"
                              7/13/2016 to 7/15/2016 email chain involving Mike
  266                         Rothenberg and Theo Melas-Kyriazi re: "Unity Co-    GHF-0000643                   GHF-0000643
                              Invest"
                              7/15/2016 memo from Theo Melas-Kyriazi to Fidelity
  267                                                                             GHF-0000224                   GHF-0000224
                              Investments re: "Wire transfer request"




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 TRIAL
          MARKED   ADMITTED             DESCRIPTION OF EXHIBIT                              BEGBATES                 ENDBATES
EXHIBIT
                              7/15/2016 email from Mike Rothenberg to Theo Melas-
  268                         Kyriazi, cc: Justin Grooms, John Melas-Kyriazi, and GHF-0000282               GHF-0000282
                              Dave Haase re: "$1M wire - Fed reference ID"

                              7/15/2016 email from Theo Melas-Kyriazi to Justin
                              Grooms, cc: John Melas-Kyriazi, Brandon Farwell and
  269                                                                             GHF-0000109               GHF-0000111
                              others re: "Rothenberg Ventures 2016 Fund - Co-
                              Invest Opportunity - Details"
                              8/18/2016 email from Theo Melas-Kyriazi to Mike
                              Rothenberg, Justin Grooms, Brandon Farwell re:
  270                                                                             GHF-0000318               GHF-0000322
                              "Rothenberg Ventures 2016 Fund - Co-Invest
                              Opportunity - Details"
                              Email chain ending 8/19/2016 involving Mike
                              Rothenberg, Theo Melas-Kyriazi, John Melas-Kyriazi,
  271                                                                             GHF-0000524               GHF-0000530
                              Justin Grooms, Brandon Farwell, and others re:
                              "Unity"

                              8/21/2016 email from "Investor Relations" to Mike
  272                         Rothenberg ("investors@rothenbergventures.com") re: GHF-0000211               GHF-0000212
                              "Rothenberg Ventures LP Update Letter #1"

                              8/22/2016 to 8/23/2016 email chain involving Mike
                              Rothenberg, Theo Melas-Kyriazi, John Melas-Kyriazi,
  273                                                                             GHF-0000420               GHF-0000421
                              and Brandon Farwell re: "Return of funds //
                              confirming tomorrow's call"
                              8/24/2016 email from John Melas-Kyriazi to Mike
                              Rothenberg, cc: Theo Melas-Kyriazi, Brandon Farwell
  274                                                                             GHF-0000422               GHF-0000422
                              and others re: "Return of funds // confirming
                              tomorrow's call"
                              8/24/2016 email from John Melas-Kyriazi to Mike
                              Rothenberg, cc: Theo Melas-Kyriazi, Brandon Farwell SEC-DOJ-EPROD-000047248   SEC-DOJ-EPROD-000047249
  275
                              and others re: "Return of funds // confirming       (RVMC00004032)            (RVMC00004033)
                              tomorrow's call"
                              8/24/2016 email from Theo Melas-Kyriazi to Mike
  276                         Rothenberg, cc: John Melas-Kyriazi and others re:   GHF-0000236               GHF-0000236
                              "GHF, Inc. adv. Rothenberg"

                              8/24/2016 email from Theo Melas-Kyriazi to Mike
  277                                                                            GHF-0000236                GHF-0000236
                              Rothenberg re: "GHF, Inc. adv. Rothenberg"

                              Text exchanges between Mike Rothenberg and John
  278                                                                            GHF-0000240                GHF-0000268
                              Melas-Kyriazi in July and August 2016

                              Series of emails from John Melas-Kyriazi and Mike
                              Rothenberg re John's trying to contact Mike about his
  279                                                                                 RVMC-00002970         RVMC-00002976
                              $1 million wire for the Unity investment and the status
                              of the Unity investment. Dated 8/18/2016-8/24/2016

                              Series of emails from John Melas-Kyriazi and Mike
                              Rothenberg re John's trying to contact Mike about his
  280                                                                                 RVMC-00003157         RVMC-00003169
                              $1 million wire for the Unity investment and the status
                              of the Unity investment. Dated 8/18/2016-8/24/2016

                              2015 Annual Report, 2015 Fund / Fund 3 Investor
  281                         Update, As of February 15, 2016, provided to GHF, US-FBI-007063               US-FBI-007086
                              Inc.
                              Rothenberg Ventures 2016 Fund, Semi-Annual Report
  282                                                                           US-FBI-007087               US-FBI-007087
                              as of 3/31/17, provided to GHF, Inc.
                              4/19/2017 emails from Mohammad El-Barachi to
                              Mike Rothenberg re: SweetIQ exit and 4/24/2017
  283                                                                           SWEETIQ-00000095            SWEETIQ-00000100
                              email from Lorenzo Pirri to Mike Rothenberg re:
                              wiring of funds




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 TRIAL
          MARKED   ADMITTED            DESCRIPTION OF EXHIBIT                              BEGBATES                      ENDBATES
EXHIBIT
                              4/25/2015 email correspondence between Mike
  284                         Rothenberg and Brian Bell re: "proposed terms"          SVB-0007187               SVB-0007201
                              discussing exit from SweetIQ
                              Robinhood records regarding sale of Robinhood stock
                              by 2013 Fund to Thrive Capital Partners funds (i.e.,
  285                                                                                 2018QLRYV_000001          2018QLRYV_001208
                              Thrive Capital Partners V, LP and Claremont V
                              Associates, LP)
                              Robinhood Stock Transfer Agreement dated
  286                                                                                 TC00000001                TC00000014
                              5/12/2017
                              Thrive Capital Partners records regarding sale of
                              Robinhood stock by 2013 Fund to Thrive Capital
  287                                                                                 TC00000001                TC00000501
                              Partners funds (i.e., Thrive Capital Partners V, LP and
                              Claremont V Associates, LP)
  288                         Interest transfer agreement dated 1/12/2015             SEC-DOJ-EPROD-000083481   SEC-DOJ-EPROD-000083486
                              7/13/2016 email from Justin Grooms to Nathan
                              Hudson, cc: Mike Rothenberg and others re:              SEC-DOJ-EPROD-000062332   SEC-DOJ-EPROD-000062336
  289
                              "Rothenberg Ventures 2016 Fund - Co-Invest              (RVMC00019116)            (RVMC00019125)
                              Opportunity"
                              7/13/2016 email from Nathan Hudson to Mike              SEC-DOJ-EPROD-000062348   SEC-DOJ-EPROD-000062348
  290
                              Rothenberg re: "RV Management Co - K1"                  (RVMC00019132)            (RVMC00019132)
                              7/12/2016 to 8/7/2016 email chain involving Nathan
                              Hudson, Justin Grooms, Mike Rothenberg, and others
  291                                                                                 UNITY-0000002             UNITY-0000005
                              re: "Rothenberg Ventures 2016 Fund - Co-Invest
                              Opportunity"
                              7/14/2016 email from Nathan Hudson to Justin
  292                         Grooms re: "Rothenberg Ventures 2016 Fund - Co-         UNITY-0000006             UNITY-0000006
                              Invest Opportunity" discussing $50K wires
  293                         Nathan Hudson wire confirmations                        SEC-DOJ-EPROD-000083452   SEC-DOJ-EPROD-000083453
                              Rothenberg Ventures LLC Loan Agreement with
  294                                                                                 SEC-DOJ-EPROD-000083474   SEC-DOJ-EPROD-000083476
                              Nathan Hudson, dated 8/11/2016
                              8/11/2016 to 8/17/2016 email chain involving Mike
  295                         Rothenberg, Nathan Hudson and others re:                UNITY-0000020             UNITY-0000024
                              "Rothenberg Ventures LLC / 1062 Folsom"
                              8/15/2016 text from Nathan Hudson to Mike
  296                                                                                 RVMC-00002720             RVMC-00002720
                              Rothenberg
  297                         Nathan Hudson/Mike Rothenberg text messages             RVMC-00002715             RVMC-00002755
                              7/14/2016 to 7/16/2016 email chain involving Alexa
                              Binns, Justin Grooms, and Mike Rothenberg re:
  298                                                                                 RVMC00019307              RVMC00019311
                              "Rothenberg Ventures 2016 - Co-Invest Opportunity",
                              attaching NDA
                              7/14/2016 to 7/17/2016 email chain involving Alexa
                              Binns, Justin Grooms, and Mike Rothenberg re:
  299                                                                                 RVMC00019333              RVMC00019336
                              "Subject: Re: Rothenberg Ventures 2016 Fund - Co-
                              Invest Opportunity"
                              7/14/2016 to 7/18/2016 email chain involving Alexa
                              Binns, Justin Grooms, and Mike Rothenberg re:
  300                                                                                 SEC-DOJ-EPROD-000062572   SEC-DOJ-EPROD-000062574
                              "Subject: Re: Rothenberg Ventures 2016 Fund - Co-
                              Invest Opportunity"
                              Rothenberg Ventures Unity Co-Fund slide deck
  301                                                                                 US-FBI-007615             US-FBI-007620
                              received by Binns, dated July 2016
                              Rothenberg Ventures 2016 Fund Co-Fund Unity LLC,
  302                                                                                 US-FBI-007621             US-FBI-007622
                              Summary of Principal Terms
                              9/9/2016 email from "Investor Relations", bcc to
  303                                                                                 US-FBI-007601             US-FBI-007602
                              James Binns
                              9/12/2016 notes re: James Binns' and Alexa Binns' call
  304                                                                                 US-FBI-007602             US-FBI-007603
                              with Mike Rothenberg
                              10/13/2016 email chain between Alexa Binns, Mike
  305                         Rothenberg, and Rob Lott re: "Alexa Binns / Rob         US-FBI-007603             US-FBI-007604
                              Lott"




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 TRIAL
          MARKED   ADMITTED             DESCRIPTION OF EXHIBIT                               BEGBATES                ENDBATES
EXHIBIT
                              11/11/2016 email from Alexa Binns to Rob Lott, cc:
  306                                                                              US-FBI-007605            US-FBI-007606
                              Mike Rothenberg re: "Alexa Binns / Rob Lott"

                              11/17/2016 email from Mike Rothenberg to Alexa
  307                         Binns and Martin Mayo, cc: Todd Tindall, including US-FBI-007607              US-FBI-007607
                              subsequent email chain
                              11/23/2016 email from Martin Mayo to Alexa Binns,
  308                         James Binns, Mike Rothenberg and others with        US-FBI-007608             US-FBI-007610
                              proposed side letter
                              11/28/2016 email from James Binns to Martin Mayo,
  309                                                                             US-FBI-007611             US-FBI-007612
                              Alexa Binns, Mike Rothenberg and others
                              12/9/2016 email from Martin Mayo to James Binns,
  310                         Alexa Binns, Mike Rothenberg and others, regarding US-FBI-007612              US-FBI-007612
                              wiring of funds
                              9/4/2018 Rothenberg Ventures 2013 Fund Update -
  311                                                                             US-FBI-007644             US-FBI-00765
                              LP Update
                              Rothenberg Ventures Fund I, Summary of Principal
  312                                                                             US-FBI-007648             US-FBI-007649
                              Terms, received by Binns
                              Rothenberg Ventures Fund I, Confidential Private
  313                                                                             US-FBI-007650             US-FBI-007667
                              Offering Memorandum
                              Rothenberg Ventures Fund I, Amended and Restated
  314                                                                             US-FBI-007668             US-FBI-007699
                              Operating Agreement
                              Rothenberg Ventures Fund I, Second Amended and
                              Restated Operating Agreement, attaching First
  315                                                                             US-FBI-007704             US-FBI-007749
                              Amended and Restated Management Agreement and
                              other documents
  316                         Binns K-1 for Rothenberg Ventures Fund I, 2017      US-FBI-007976             US-FBI-008007
  317                         Text message                                        HAASE-0000253             HAASE-0000253
                              Text message string between Ewan Johnson and
  318                                                                             EJOHNSON-000124           EJOHNSON-000136
                              14157746468
                              Text string between Jonah Loop and Mike Rothenberg
  319                         re: charging of American Express card to repay Ewan EJOHNSON-000138           EJOHNSON-000138
                              Johnson
                              7/15/2016 email from Justin Grooms to Ewan
  320                                                                             EJOHNSON-000728           EJOHNSON-000728
                              Johnson, cc: Martin Mayo re: "Unity"
  321                         Unity PowerPoint Deck                               EJOHNSON-000732           EJOHNSON-000737

                              Rothenberg message to Ewan Johnson, Jonah Loop
                              and others stating that "ownership of River Studios . . .
  322                                                                                   EJOHNSON-000137     EJOHNSON-000137
                              Has been entirely the Rothenberg Ventures funds and
                              Pilot Grove (rather than me personally…)"

                              9/1/2016 letter to Mike Rothenberg from Ewan
  323                                                                             EJOHNSON-000113           EJOHNSON-000114
                              Johnson's attorney
                              Correspondence and records re: return of $50,000 to
  324                                                                             EJOHNSON-000729           EJOHNSON-000729
                              Ewan Johnson and Sonoko Konishi
                              Ewan Johnson v. River Studios, Labor Commissioner
  325                                                                             EJOHNSON-000083           EJOHNSON-000103
                              Order, dated 6/13/2018
                              6/30/2018 letter from Ewan Johnson to Mike
  326                                                                             EJOHNSON-000104           EJOHNSON-000104
                              Rothenberg
                              4/21/2016 email chain regarding Ron Goldberg        SEC-DOJ-EPROD-000005931   SEC-DOJ-EPROD-000005933
  327
                              investment into 2016 Fund                           (B006712)                 (B006714)
                              7/14/2016 email from Justin Grooms to Ron Goldberg
                              re: "Rothenberg Ventures 2016 Fund - Co-Invest      SEC-DOJ-EPROD-000084342   SEC-DOJ-EPROD-000084344
  328
                              Opportunity", attaching PowerPoint deck and         (GOLD0001258)             (GOLD0001260)
                              Summary of Principal Terms
                              7/13/2016 to 7/16/2016 email chain involving Ron
                              Goldberg, Lena Goldberg, Justin Grooms, and Mike
  329                                                                             GOLD0001558               GOLD0001561
                              Rothenberg re: "Rothenberg Ventures 2016 Fund - Co-
                              Invest Opportunity"




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 TRIAL
          MARKED   ADMITTED              DESCRIPTION OF EXHIBIT                             BEGBATES                  ENDBATES
EXHIBIT
                              7/21/2016 email chain between Ronald Goldberg and
                                                                                    SEC-DOJ-EPROD-000084359   SEC-DOJ-EPROD-000084359
  330                         Justin Grooms re: "Rothenberg Ventures 2016 Fund -
                                                                                    (GOLD0001578)             (GOLD0001579)
                              Co-Invest Opportunity"
                              Text exchange between Ron Goldberg and David
  331                                                                               HAASE-0000103             HAASE-0000103
                              Haase
                              8/10/2016 email from Lena Goldberg to Mike            SEC-DOJ-EPROD-000084361   SEC-DOJ-EPROD-000084361
  332
                              Rothenberg re: "Some thoughts"                        (GOLD0001581)             (GOLD0001582)
                              8/27/2016 to 8/29/2016 email chain between Rob
                              Rothenberg and Lena Goldberg and Ronald Goldberg,     SEC-DOJ-EPROD-000084378   SEC-DOJ-EPROD-000084378
  333
                              cc: Mike Rothenberg re: "Upcoming Rothenberg          (GOLD0001614)             (GOLD0001615)
                              Ventures LP Meeting on Monday"
                              9/1/2016 email from Lena Goldberg to Mike
                                                                                    SEC-DOJ-EPROD-000084381   SEC-DOJ-EPROD-000084381
  334                         Rothenberg re: "Rothenberg Ventures LP Update
                                                                                    (GOLD0001618)             (GOLD0001624)
                              Letter #2"
                              9/10/2016 email from Lena Goldberg to Mike
                                                                                    SEC-DOJ-EPROD-000084384   SEC-DOJ-EPROD-000084384
  335                         Rothenberg re: "Rothenberg Ventures - Unity Co-
                                                                                    (GOLD0001627)             (GOLD0001633)
                              Invest"
                              9/19/2016 email from Mike Rothenberg to Lena          SEC-DOJ-EPROD-000084387   SEC-DOJ-EPROD-000084387
  336
                              Goldberg re: "Inquiries"                              (GOLD0001636)             (GOLD0001636)
                              9/29/2016 to 9/30/2016 email chain between Mike
                                                                                    SEC-DOJ-EPROD-000084398   SEC-DOJ-EPROD-000084398
  337                         Rothenberg and Lena Goldberg re: "LP Advisory
                                                                                    (GOLD0001650)             (GOLD0001650)
                              Board"

                              11/18/2016 email to investors@frontier.tech re:
                              "CONFIDENTIAL - FRONTIER TECH VENTURES SEC-DOJ-EPROD-000084404                  SEC-DOJ-EPROD-000084404
  338
                              INVESTOR UPDATE - DO NOT FORWARD",              (GOLDBERG0001668)               (GOLDBERG0001670)
                              received by Goldbergs and others

                              3/22/2017 email from Investors Rothenberg Ventures
                              to Investors Rothenberg Ventures re: "Rothenberg    SEC-DOJ-EPROD-000084431     SEC-DOJ-EPROD-000084432
  339
                              Ventures 2016 Fund - Semi-Annual Report",           (GOLD0001723)               (GOLD0001724)
                              attachment Portfolio Update
                              5/2/2017 letter from Rothenberg Ventures to Lloyd
                                                                                  SEC-DOJ-EPROD-000091702     SEC-DOJ-EPROD-000091702
  340                         Winawer re: Unity investment and return of Goldberg
                                                                                  (GOLD0001789)               (GOLD0001789)
                              funds
                              3/4/2016 Email from Mike Rothenberg to Dave Haase SEC-DOJ-EPROD-000049458       SEC-DOJ-EPROD-000049458
  341
                              re: "River Studios - Accounting notes"              (RVMC00006242)              (RVMC00006242)

                              3/23/2016 email from Dave Haase to Mike               SEC-DOJ-EPROD-000073256   SEC-DOJ-EPROD-000073257
  342
                              Rothenberg and David Herzog re: "Net transfers"       (RVMC00030040)            (RVMC00030041)

                              3/23/2016 email from Dave Haase to Mike            SEC-DOJ-EPROD-000073261      SEC-DOJ-EPROD-000073262
  343
                              Rothenberg and Hannah Han re: "Super Bowl receipt" (RVMC00030045)               (RVMC00030046)

                              4/11/2016 email from Dave Haase to Mike               SEC-DOJ-EPROD-000064878   SEC-DOJ-EPROD-000064878
  344
                              Rothenberg re: "File", attaching spreadsheet          (RVMC00021662)            (native attachment)

                              4/12/2016 Email chain from Dave Haase to Mike
  345                                                                               SEC-DOJ-EPROD-000090165   SEC-DOJ-EPROD-000090167
                              Rothenberg with Subject: Re: 2016 GP Commitment

                              4/12/2016 Email chain including Mike Rothenberg,
  346                                                                           SEC-DOJ-EPROD-000064982       SEC-DOJ-EPROD-000064984
                              Tom Leep, and Geoff Rapoport
                              4/25/2016 Email chain from Tom Leep to Dave Haase
                              cc'ing Geoff Rapoport and Mike Rothenberg with
  347                                                                           SEC-DOJ-EPROD-000090465       SEC-DOJ-EPROD-000090468
                              Subject: RE: 2016 GP Commitment, attaching
                              spreadsheet

                              6/3/2016 email from David Haase to Martin Mayo and
                                                                                 SEC-DOJ-EPROD-000054025      SEC-DOJ-EPROD-000054025
  348                         Amanda, cc: Mike Rothenberg re: "New Accounts",
                                                                                 (RVMC00010809)               (RVMC00010809)
                              setting out "Legal Entity Structure"

                              Spreadsheet with tabs Intercompany, 2015 Transfers,   SEC-DOJ-EPROD-000043746   SEC-DOJ-EPROD-000043746
  349
                              2016, and 15+16 Transfers                             (HAASE0000007)            (HAASE0000007)
                              Spreadsheet with tabs 2015 Transfers, 2016, PIVOT,    SEC-DOJ-EPROD-000043747   SEC-DOJ-EPROD-000043747
  350
                              and 15+16 Transfers                                   (HAASE0000008)            (HAASE0000008)



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          MARKED   ADMITTED             DESCRIPTION OF EXHIBIT                                   BEGBATES                  ENDBATES
EXHIBIT
                                                                                     SEC-DOJ-EPROD-000043749   SEC-DOJ-EPROD-000043749
  351                         Spreadsheet
                                                                                     (HAASE0000010)            (HAASE0000010)
                                                                                     SEC-DOJ-EPROD-000043788   SEC-DOJ-EPROD-000043788
  352                         Spreadsheet
                                                                                     (HAASE0000049)            (HAASE0000049)
                                                                                     SEC-DOJ-EPROD-000043795   SEC-DOJ-EPROD-000043795
  353                         Fund Cash Spending Dashboard Spreadsheet
                                                                                     (HAASE0000056)            (HAASE0000056)
                              Spreadsheet with tabs Dashboard, RVMC (8.03),
                                                                                     SEC-DOJ-EPROD-000043805   SEC-DOJ-EPROD-000043805
  354                         Mike (8.03), Fund Transfer Detail, Cashflow, and
                                                                                     (HAASE0000066)            (HAASE0000066)
                              others
                                                                                     SEC-DOJ-EPROD-000043807   SEC-DOJ-EPROD-000043807
  355                         Spreadsheet
                                                                                     (HAASE0000068)            (HAASE0000068)
                              7/27/2016 Email from Mike Rothenberg to Dave
  356                         Haase, Martin Mayo and cc'ing Ian Hathaway with        SEC-DOJ-EPROD-000086634   SEC-DOJ-EPROD-000086635
                              Subject: 2016 Fund Status update

                              Excel Spreadsheet shows two tabs Tx (Transfer)
                                                                               SEC-DOJ-EPROD-000043792         SEC-DOJ-EPROD-000043792
  357                         Between Orgs and TX Between Funds. Lists Menezes
                                                                               (HAASE0000053)                  (HAASE0000053)
                              wire 12/24/2015 in tab TX Between Funds Row 205

                                                                                     SEC-DOJ-EPROD-000043793
  358                         Spreadsheet with tabs 1-3 2016 and 10-12 2015                                    SEC-DOJ-EPROD-000043793
                                                                                     (HAASE0000054)
                              Spreadsheet with tabs Tx Between Orgs, Tx Between      SEC-DOJ-EPROD-000043794
  359                                                                                                          SEC-DOJ-EPROD-000043794
                              Funds and Promotions                                   (HAASE0000055)
                                                                                     SEC-DOJ-EPROD-000043795
  360                         Spreadsheet with tabs 2013, 2014, 2015, and 2016                                 SEC-DOJ-EPROD-000043795
                                                                                     (HAASE0000056)
  361                         "Legal Entity Structure"                               HAASE-0000091             HAASE-0000091
  362                         Screenshot of bank balances                            HAASE-0000095             HAASE-0000095
  363                         Document entitled "Discussion topics"                  HAASE-00000003            HAASE-00000003
                              7/27/2016 email from Mike Rothenberg to Dave           SEC-DOJ-EPROD-000049526   SEC-DOJ-EPROD-000049526
  364
                              Haase re: "Priorities"                                 (RVMC00006310)            (RVMC00006310)
                              Hasse [sic] [Haase] v. Rothenberg complaint, filed
  365                                                                                US-001551                 US-001564
                              8/30/2016
                              3/30/20156 email from Cisco Riordan to Mike
                              Rothenberg re: "Everything with 2015 in the filename
  366                                                                                SEC-DOJ-EPROD-000073634   SEC-DOJ-EPROD-000073635
                              and/or path", attaching spreadsheet titled
                              "Everything2015.xlsx"
  367                         Fanelli v. Rothenberg complaint                        US-001565                 US-001600
                              3/30/2015 email from Katie Fanelli to Mike
  368                         Rothenberg re: "Morning priorities", attaching LP      SEC-DOJ-EPROD-000073713   SEC-DOJ-EPROD-000073714
                              Master List

                              3/30/2015 email from Katie Fanelli to Mike
  369                                                                                SEC-DOJ-EPROD-000073757   SEC-DOJ-EPROD-000073758
                              Rothenberg re: "LP List", attaching LP Master List

                              Text string between Mike Rothenberg, Geoff
  370                                                                                SEC-DOJ-EPROD-000007592   SEC-DOJ-EPROD-000007627
                              Rappaport and Katie Fanelli
                              4/4/2015 Email from Mike Rothenberg to Brandon
  371                         Farwell with Subject: Rothenberg Ventures 2015,        SEC-DOJ-EPROD-000011115   SEC-DOJ-EPROD-000011131
                              attaching slide deck
                              5/20/2015 Email from Mike Rothenberg to Brandon
  372                                                                                SEC-DOJ-EPROD-000014282   SEC-DOJ-EPROD-000014284
                              Farwell

                              Rothenberg Ventures 2015 Fund, Summary of
                              Principal Terms, Confidential Private Offering
  373                         Memorandum, Amended and Restated Operating             B000159                   B000240
                              Agreement of Rothenberg Ventures 2015 Fund LLC,
                              Amended and Restated Management Agreement

                              5/28/2015 Bloomberg article entitled "The Valley's
  374                                                                                US-001169                 US-001175
                              Party Animal"




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 TRIAL
          MARKED   ADMITTED              DESCRIPTION OF EXHIBIT                                 BEGBATES                  ENDBATES
EXHIBIT
                              6/1/2015 email from Mike Rothenberg to Mike
                              Rothenberg, addressed to "Dear Founders and LPs,"
                                                                                        SEC-DOJ-EPROD-000014576   SEC-DOJ-EPROD-000014577
  375                         cc: Tommy Leep, Brandon Farwell, and others re:
                                                                                        (B015357)                 (B015358)
                              "Rothenberg Ventures in the media", discussing
                              Bloomberg article

                              6/15/2015 email from Mike Rothenberg to Brandon     SEC-DOJ-EPROD-000015305         SEC-DOJ-EPROD-000015305
  376
                              Farwell, Tommy Leep and others re: "jake and kevin" (B016086)                       (B016086)

                              7/9/2015 email from Mike Rothenberg to Darrin
                              Woo, cc: Brandon Farwell and others re: "Darrin           SEC-DOJ-EPROD-000016753   SEC-DOJ-EPROD-000016757
  377
                              (WHF Group) and Rothenberg Ventures", discussing          (B0017534)                (B0017538)
                              independent funding of Bend Reality

                              12/8/2015 email from Mike Rothenberg to Brandon
  378                                                                                   SEC-DOJ-EPROD-000027375   SEC-DOJ-EPROD-000027377
                              Farwell with Subject: LPs, attaching spreadsheet

                              3/24/2016 email chain involving Katie Fanelli,
                              Brandon Farwell and Mike Rothenberg, attaching
                              Spreadsheet with tabs Master Close List, Individuals,
  379                                                                                   SEC-DOJ-EPROD-000034223   SEC-DOJ-EPROD-000034225
                              Super Connectors, LPs, Priorities, Updated E-mail
                              Distributions, Data, Instructions, Partial LP List, and
                              others

                              3/29/2016 Email from Mike Rothenberg to Katie
                              Fanelli, Brandon Farwell, and Fran Hauser with
  380                                                                                   SEC-DOJ-EPROD-000034444   SEC-DOJ-EPROD-000034445
                              Subject: Chutes & Ladders, attaching Spreadsheet
                              with tabs LP - Master List and Master

                              Email from Brandon Farwell re John Melas-Kyriazi
  381                         asking for their $1 million Unity wire to be wired        RVMC-00002969             RVMC-00002969
                              back. Dated 8/18/2016
                              8/19/2016 e-mail from Mike Rothenberg to Brandon
                                                                                        SEC-DOJ-EPROD-000043671   SEC-DOJ-EPROD-000043671
  382                         Farwell, Bill Broom, and Justin Grooms re: "Thought
                                                                                        (B044452)                 (B044452)
                              on Payroll"
                              Text exchanges with Mike Rothenberg and Justin            SEC-DOJ-EPROD-000007499   SEC-DOJ-EPROD-000007512
  383
                              Grooms, 6/19/2016 to 9/13/2016                            (B008280)                 (B008293)
                              8/2016 to 9/2016 Brandon Farwell text conversation        SEC-DOJ-EPROD-000007637   SEC-DOJ-EPROD-000007641
  384
                              with Pascal Levensohn                                     (B008418)                 (B008422)

                              9/26/2016 email from David Presser to
                              "investors@frontier.tech" re: "Confidential - Frontier    FAR-0000785               FAR-0000788
  385
                              Tech Ventures - 2014 Fund - LP Update", attaching         (B000785)                 (B000788)
                              list of 2014 Fund portfolio companies

                                                                                 SEC-DOJ-EPROD-000004161          SEC-DOJ-EPROD-000004189
  386                         2013 Fund / Fund 1 Investor Update, November 2015
                                                                                 (B004942)                        (B004970)
                              2015 Annual Report, 2013 Fund / Fund 1 Investor    SEC-DOJ-EPROD-000032149          SEC-DOJ-EPROD-000032171
  387
                              Update, as of February 15, 2016                    (B032930)                        (B032952)
                              2015 Annual Report, 2013 Fund / Fund 1 Investor    SEC-DOJ-EPROD-000032949          SEC-DOJ-EPROD-000032971
  388
                              Update, dated March 31, 2016                       (B033730)                        (B033752)
                                                                                 SEC-DOJ-EPROD-000004756          SEC-DOJ-EPROD-000004776
  389                         2014 Fund / Fund 2 Investor Update, November 2015
                                                                                 (B005537)                        (B005557)
                              2014 Fund / Fund 2 Investor Update, as of February SEC-DOJ-EPROD-000030862          SEC-DOJ-EPROD-000030885
  390
                              15, 2016                                           (B031643)                        (B031666)
                              2015 Annual Report, 2014 Fund / Fund 2 Investor    FAR-0000736                      FAR-0000758
  391
                              Update, dated March 31, 2016                       (B000736)                        (B000758)
                              2015 Annual Report, 2015 Fund / Fund 3 Investor    SEC-DOJ-EPROD-000030886          SEC-DOJ-EPROD-000030909
  392
                              Update, as of February 15, 2016                    (B031667)                        (B031690)
                              2015 Annual Report, 2015 Fund / Fund 3 Investor    FAR-0000759                      FAR-0000782
  393
                              Update, dated March 31, 2016                       (B000759)                        (B000782)




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 TRIAL
          MARKED   ADMITTED             DESCRIPTION OF EXHIBIT                               BEGBATES                   ENDBATES
EXHIBIT
                              Rothenberg Ventures Fund I, LLC, Summary of
                              Principal Terms, Confidential Private Offering
  394                         Memorandum of September 6, 2012 for Rothenberg         FAR-0000001               FAR-0000058
                              Ventures Fund I, Operating Agreement of Rothenberg
                              Ventures Fund I
                              3/3/2016 email chain between Mike Rothenberg and
                                                                                     SEC-DOJ-EPROD-000071657   SEC-DOJ-EPROD-000071659
  395                         Tom Leep re: "2015 Fund Bank Accounts and
                                                                                     (RVMC00028441)            (RVMC00028443)
                              Financial Statements"
                              3/3/2016 email chain between Mike Rothenberg and
                                                                                     SEC-DOJ-EPROD-000071660   SEC-DOJ-EPROD-000071662
  396                         Tom Leep re: "2015 Fund Bank Accounts and
                                                                                     (RVMC00028444)            (RVMC00028446)
                              Financial Statements"
                              3/5/2016 email from Tom Leep to Mike Rothenberg
                                                                                     SEC-DOJ-EPROD-000071677   SEC-DOJ-EPROD-000071678
  397                         re: 2015 & 2016 Fund questions", attaching
                                                                                     (RVMC00028461)            (RVMC00028462)
                              spreadsheet file
                              3/27/2016 Email from Tom Leep to Mike Rothenberg
                              with Subject: Files--Worse off than last week,
  398                                                                                SEC-DOJ-EPROD-000073509   SEC-DOJ-EPROD-000073510
                              attaching Spreadsheet with tabs List by Investor and
                              List by Fund

                              3/29/2016 to 3/30/2016 Email chain from Tom Leep
  399                         to Mike Rothenberg with Subject: FW: Investors'        SEC-DOJ-EPROD-000073684   SEC-DOJ-EPROD-000073688
                              Contributions to 2015 Fund, attaching spreadsheets

                              4/2/2016 to 4/3/2016 Email chain including Tom Leep
  400                                                                             SEC-DOJ-EPROD-000073882      SEC-DOJ-EPROD-000073884
                              and Mike Rothenberg
                              4/8/2016 Email chain from Geoff Rapoport to Mike
  401                         Rothenberg cc'ing Tom Leep with Subject: Re: AI     SEC-DOJ-EPROD-000090138      SEC-DOJ-EPROD-000090143
                              Fund

                              5/3/2016 email from Tom Leep to Mike Rothenberg
                                                                                     SEC-DOJ-EPROD-000067558   SEC-DOJ-EPROD-000067562
  402                         re: "Status of 2015 Fund ---FW: 2015 & 2016 Fund
                                                                                     (RVMC00024342)            (RVMC00024346)
                              questions", attaching three documents

                              7/31/2015 email from Mike Rothenberg to Lynne
  403                         McMillan re: "Mike's personal financials: Master   US-FBI-005620                 US-FBI-005620
                              Checklist"
                              2/2/2016 email chain involving Mike Rothenberg and
  404                                                                            SEC-FBI-EPROD-000047971       SEC-FBI-EPROD-000047971
                              Lynne McMillan re: "Transfers"

                              3/11/2016 email chain involving Mike Rothenberg,       SEC-DOJ-EPROD-000091394   SEC-DOJ-EPROD-000091395
  405
                              Lynne McMillan, Tom Leep, and others                   (RVMC00037954)            (RVMC00037955)

                              11/3/2015 email from Lynne McMillan to Mike
  406                         Rothenberg re: "v3", attaching "Individual LP Reports SEC-DOJ-EPROD-000058957    SEC-DOJ-EPROD-000058958
                              (11.03.15) v3.xlsx"

                              11/4/2015 email from Lynne McMillan to Mike
  407                         Rothenberg re: "Updated LP Report Excel doc",          SEC-DOJ-EPROD-000058961   SEC-DOJ-EPROD-000058962
                              attaching "Individual LP Reports (11.03.15) v4.xlsx"

                              7/31/2016 Email from Mike Rothenberg to Justin
  408                                                                                SEC-DOJ-EPROD-000048580   SEC-DOJ-EPROD-000048581
                              Groom and John Winn with Subject: Sales info
                              9/30/2015 email from Lynne McMillan to Mike
  409                                                                                SEC-DOJ-EPROD-000056980   SEC-DOJ-EPROD-000056981
                              Rothenberg re: "Exit tab", attaching spreadsheet
                              Email chain ending 10/9/2015 from David Dolby to
                              Mike Rothenberg and cc'ing David Frank with
  410                                                                                SEC-DOJ-EPROD-000057792   SEC-DOJ-EPROD-000057798
                              Subject: RE: confirming Rothenberg-Dolby meeting
                              today at 4pm
                              Email chain ending 10/9/2015 from David Dolby to
                              Pascal Levensohn and Andrew Krowne with Subject:
  411                                                                                SEC-DOJ-EPROD-000092006   SEC-DOJ-EPROD-000092007
                              FW: confirming Rothenberg-Dolby meeting today at
                              4pm, attaching pro form update




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          MARKED   ADMITTED             DESCRIPTION OF EXHIBIT                               BEGBATES                  ENDBATES
EXHIBIT
                              Email chain ending 11/18/2015 from Pascal
                              Levensohn to Andrew Krowne with Subject: FW:
  412                                                                            SEC-DOJ-EPROD-000092008       SEC-DOJ-EPROD-000092010
                              Following UP, forwarding investment documents sent
                              by Katie Fanelli
                              Email chain ending 12/4/2015 from Pascal Levensohn
                              to Katie Fanelli and cc'ing David Frank, Mike
  413                                                                            SEC-DOJ-EPROD-000059643       SEC-DOJ-EPROD-000059652
                              Rothenberg and others with Subject: Re: Following
                              UP
                              Email chain ending 12/7/2015 from Mike Rothenberg
  414                         to Pascal Levensohn and cc'ing Katie Fanelli and   SEC-DOJ-EPROD-000091817       SEC-DOJ-EPROD-000091817
                              others
                              Email chain ending 12/14/2015 from Pascal
                              Levensohn to Andrew Krowne with Subject: Fwd:
  415                                                                            SEC-DOJ-EPROD-000091737       SEC-DOJ-EPROD-000091737
                              Following UP, forwarding email from Mike
                              Rothenberg re: fund

                              Email chain ending 12/15/2015 from Neil Devani to
                              Pascal Levensohn and cc'ing Mike Rothenberg, Katie
  416                                                                               SEC-DOJ-EPROD-000060519    SEC-DOJ-EPROD-000060883
                              Fanelli, and others with Subject: Re: "Following UP",
                              attaching documents

                              Email chain ending 12/15/2015 from Pascal
                              Levensohn to Neil Devani and cc'ing Mike
  417                                                                                SEC-DOJ-EPROD-000060890   SEC-DOJ-EPROD-000060892
                              Rothenberg, Katie Fanelli, and others with Subject:
                              Re: Following UP
                              Email chain ending 12/15/2015 from Pascal
                              Levensohn to Lynne McMillan and cc'ing Mike
  418                         Rothenberg, Neil Devani and others with Subject: Re:   SEC-DOJ-EPROD-000060900   SEC-DOJ-EPROD-000060900
                              [Time-Sensitive] Rothenberg Ventures Wiring
                              Instructions
                              Email chain ending 12/15/2015 from Pascal
                              Levensohn to Neil Devani and cc'ing Mike
  419                                                                                SEC-DOJ-EPROD-000060910   SEC-DOJ-EPROD-000060922
                              Rothenberg, Katie Fanelli, and others with Subject:
                              Re: Following UP, attaching documents
                              Rothenberg Ventures 2016 Fund, L.P. Summary of
  420                                                                                SEC-DOJ-EPROD-000091996   SEC-DOJ-EPROD-000091996
                              Principal Terms

                              Email chain ending 2/17/2016 from Katie Fanelli to
  421                         Pascal Levensohn and cc'ing Mike Rothenberg with       SEC-DOJ-EPROD-000070906   SEC-DOJ-EPROD-000070908
                              Subject Re: Rothenberg Ventures 2016 Fund

                              Email chain ending 2/17/2016 from Neil Devani to
                              Mike Rothenberg and cc'ing Pascal Levensohn with
  422                                                                               SEC-DOJ-EPROD-000070911    SEC-DOJ-EPROD-000070923
                              Subject: Re: Dolby / Rothenberg Ventures - follow up,
                              attaching documents
                              Email chain ending 2/18/2016 from Pascal Levensohn
                              to Neil Devani and Mike Rothenberg and cc'ing Neil
  423                                                                               SEC-DOJ-EPROD-000071039    SEC-DOJ-EPROD-000071041
                              Koren with Subject: Re: Dolby / Rothenberg Ventures -
                              follow up

                              Email chain ending 4/20/2016 from Geoff Rapoport to
                              Mike Rothenberg, Tom Leep, and Dave Haase with
  424                                                                             SEC-DOJ-EPROD-000066079      SEC-DOJ-EPROD-000066145
                              Subject: Fwd: Dolby / Rothenberg Ventures -follow
                              up, attaching re-signed subscription documents

                              5/5/2016 email from David Frank to Pascal Levensohn
  425                         and Andrew Krowne and David Dolby extending         SEC-DOJ-EPROD-000091752      SEC-DOJ-EPROD-000091753
                              invitation to Founder Field Day
                              5/25/2016 email from Geoff Rapoport to Mike
  426                         Rothenberg, David Haase and others attaching most   SEC-DOJ-EPROD-000053431      SEC-DOJ-EPROD-000053482
                              recent annual reports




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 TRIAL
          MARKED   ADMITTED             DESCRIPTION OF EXHIBIT                            BEGBATES                   ENDBATES
EXHIBIT
                              8/19/2016 email from Andrew Krowne to Pascal
                              Levensohn, attaching various email communications
  427                                                                             SEC-DOJ-EPROD-000092075    SEC-DOJ-EPROD-000092076
                              showing Dolby F.V.'s consideration of investment,
                              attachments dated from 2015 and early 2016

                              Email chain ending 8/22/2016 from Pascal Levensohn
  428                         to Andrew Krowne Subject: RE: Rothenberg           SEC-DOJ-EPROD-000092021     SEC-DOJ-EPROD-000092021
                              Ventures LP Update Letter #1
                              Email chain ending 8/23/2016 from Pascal Levensohn
  429                         to Andrew Krowne with Subject: FW: Rothenberg      SEC-DOJ-EPROD-000092011     SEC-DOJ-EPROD-000092011
                              Ventures LP Update Letter #2

                              Email chain ending 8/25/2016 from Pascal Levensohn
                              to Andrew Krowne and David Dolby with Subject:
  430                                                                            SEC-DOJ-EPROD-000091744     SEC-DOJ-EPROD-000091744
                              Fwd: Rothenberg Ventures Limited Partners
                              Conference Call (Thursday, August 25, 2016)

                              Email chain ending 8/26/2016 from Pascal Levensohn
                              to Rothenberg Ventures Investor Relations and cc'ing
  431                         various individuals with Subject: Re: Rothenberg     SEC-DOJ-EPROD-000049885   SEC-DOJ-EPROD-000049887
                              Ventures Limited Partners Conference Call (Thursday,
                              August 25, 2016)

                              Email chain ending 8/28/2016 from Pascal Levensohn
  432                         to Andrew Krowne with Subject: Fwd: Upcoming       SEC-DOJ-EPROD-000091746     SEC-DOJ-EPROD-000091746
                              Rothenberg Ventures LP Meeting on Monday

                              Email chain ending 9/9/2016 from Pascal Levensohn
  433                         to David Dolby and Andrew Krowne with Subject:     SEC-DOJ-EPROD-000091745     SEC-DOJ-EPROD-000091745
                              Fwd: Rothenberg Ventures LP Update Letter (9/9/16)

                              Email chain ending 9/13/2016 from Pascal Levensohn
                              to Andrew Krowne with Subject: Re: Frontier Tech
  434                                                                            SEC-DOJ-EPROD-000091725     SEC-DOJ-EPROD-000091725
                              Ventures (Rothenberg Ventures) - LP Update Letter
                              (9/13/16)
                              Letter from Rothenberg Ventures LLC to Dolby
  435                                                                            SEC-DOJ-EPROD-000091950     SEC-DOJ-EPROD-000091950
                              Family Ventures, L.P. dated 5/31/2017
                              Email chain ending 6/1/2017 from Pascal Levensohn
  436                         to Andrew Krowne with Subject: Re: Employee        SEC-DOJ-EPROD-000091809     SEC-DOJ-EPROD-000091809
                              Happiness

                              Email chain w/ Mike Rothenberg, John Melas-Kyriazi
  437                         re questions about the 2015 Fund and Mike sending  GHF-0000500                 GHF-0000502
                              John a 2015 Fund term sheet. Dated 4/14/2015

                              3/27/2015 to 4/14/2015 email chain involving John
                              Melas-Kyriazi, Brandon Farwell, Mike Rothenberg,
  438                                                                             GHF-0000491                GHF-0000493
                              and others re: "Re: Rothenberg Ventures" and
                              information about the 2015 Fund sent to John

                              4/22/2015 to 4/29/2015 email chain w/ Mike
  439                         Rothenberg, Theo and John Melas-Kyriazi, and others GHF-0000346                GHF-0000349
                              re Mike thanking Theo and John for their investment

                              4/22/2015 to 4/27/2015 email chain w/ Mike
  440                         Rothenberg, John and Theo Melas-Kyriazi, and others GHF-0000379                GHF-0000380
                              re information about the 2015 Fund
                              4/22/2015 - 4/28/2015 email chain with Mike
                              Rothenberg, Tom Leep, and Neil Devani re: "Re: $
  441                                                                             WELLS-000241               WELLS-000245
                              ONE MILLION RECEIVED---RE: John Melas-
                              Kyriazi / Rothenberg Ventures 2015 Fund




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 TRIAL
          MARKED   ADMITTED             DESCRIPTION OF EXHIBIT                                BEGBATES                  ENDBATES
EXHIBIT
                              4/22/2015 to 5/27/2015 email chain involving Mike
                              Rothenberg, John and Theo Melas Kyriazi and others
  442                         re: "Re: GHF Inc. Investment in Rothenberg Ventures GHF-0000087                   GHF-0000092
                              2015 Fund" w/ Attached signed agreement by Theo
                              Melas-Kyriazi
                              Amended Summary of Principal Terms provided to
  443                                                                             GHF-0000019                   GHF-0000022
                              GHF dated 4/1/2015

                              07/01/2015 e-mail from Dylan Flinn at RV to Praveen
  444                         Gupta, cced Michael Rothenberg and others, discusses SEC-DOJ-EPROD-000015887      SEC-DOJ-EPROD-000015888
                              VR, and update on 2015 Fund, etc.

                              Email chain ending 7/9/2015 starting from Dylan
                              Flinn at RV on 7/1/2015 to Praveen Gupta, cced
  445                                                                               SEC-DOJ-EPROD-000016849     SEC-DOJ-EPROD-000016852
                              Michael Rothenberg and others, discusses VR, and
                              update on 2015 Fund, etc.
                              Email chain ending 7/21/2015 starting from Dylan
                              Flinn at RV on 7/1/2015 to Praveen Gupta, cced
  446                                                                               SEC-DOJ-EPROD-000017577     SEC-DOJ-EPROD-000017579
                              Michael Rothenberg and others, discusses VR, and
                              update on 2015 Fund, etc.
                              Email chain ending 7/22/2015 involving Dylan Flinn,
                              Praveen Gupta, cced Michael Rothenberg and others,
  447                         discusses VR, and update on 2015 Fund, etc., response SEC-DOJ-EPROD-000017619     SEC-DOJ-EPROD-000017623
                              from Gupta about meeting, then Henry Pfirrmann
                              meeting 7/23/2015
                              Email chain ending 7/22/2015 involving Dylan Flinn
                              at RV to Gupta, cced Michael Rothenberg and others,
  448                         discusses VR, and update on 2015 Fund, etc., response SEC-DOJ-EPROD-000017667     SEC-DOJ-EPROD-000017673
                              from Gupta about meeting, then Henry Pfirrmann not
                              meeting 7/23/2015
                              Email chain ending 7/23/2015 involving Dylan Flinn,
                              Praveen Gupta, cced Michael Rothenberg and others,
  449                         discusses VR, and update on 2015 Fund, etc., response SEC-DOJ-EPROD-000017678     SEC-DOJ-EPROD-000017685
                              from Gupta about meeting, then Henry Pfirrmann not
                              meeting 7/23/2015

                              7/23/2015 email from Mike Rothenberg to Raymond
                              Pao and Jimmy Feng at HTC, cc: Lynne McMillan and
  450                                                                             SEC-DOJ-EPROD-000001310       SEC-DOJ-EPROD-000001310
                              Neil Devani, bcc: Brandon Farwell re: "Peter Chou /
                              Rothenberg Ventures 2015 Fund"

                              8/10/2015 email from Gupta to Neil Devani and
  451                         Michael Rothenberg, signed documents attached for     SEC-DOJ-EPROD-000067942     SEC-DOJ-EPROD-000067961
                              investment in Fund 2015
                              3/21/2016 email to Praveen Gupta re: "you've received
  452                                                                               SEC-DOJ-EPROD-000034301     SEC-DOJ-EPROD-000034303
                              a new document in the LP portal"

                              8/21/2016 email from Michael Rothenberg to many
  453                         investors including Praveen Gupta, Binns, and others, SEC-DOJ-EPROD-000048874     SEC-DOJ-EPROD-000048877
                              entitled "Rothenberg Ventures LP Update Letter #1."

                              8/25/2016 email from Michael Rothenberg to many
                              investors including Praveen Gupta, entitled
  454                                                                                 SEC-DOJ-EPROD-000049105   SEC-DOJ-EPROD-000049107
                              "Rothenberg Ventures Limited Partners Conference
                              Call (Thursday, August 25, 2016)."

                              8/21/2016 email from Michael Rothenberg to many
  455                         investors including Praveen Gupta, entitled             SEC-DOJ-EPROD-000050056   SEC-DOJ-EPROD-000050057
                              "Rothenberg Ventures LP Update Letter (9/9/16)"

                              1/18/2017 to 1/20/2017 email chain with investor list
  456                         from Neil Grossman regarding events at Rothenberg       TVR-0002259               TVR-0002263
                              funds




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 TRIAL
          MARKED   ADMITTED             DESCRIPTION OF EXHIBIT                            BEGBATES                    ENDBATES
EXHIBIT
                              4/6/2015 Email from RightSignature.com to Michael
  457                         Antonov with Subject: Document                      US-FBI-009703              US-FBI-009703
                              Rothenberg_fund.pdf is complete
                              4/5/2015 Letter from Michael Antonov to Fidelity
  458                         Brokerage Services requesting a transfer of         US-FBI-009704              US-FBI-009705
                              $1,250,000 to Rothenberg Ventures 2015 Fund
                              4/29/2015 Email from Mike Rothenberg to Michael
  459                         Antonov cc'ing Neil Devani with Subject: Re:        US-FBI-009706              US-FBI-009708
                              Rothenberg Ventures 2015 Fund
                              Document Packet for Amendment to Rothenberg
  460                                                                             US-FBI-009709              US-FBI-009763
                              Ventures 2015 Fund
                              4/7/2015 Email from Mike Rothenberg to Michael
                              Antonov with Subject: Thank you!, attaching deck re
  461                                                                             US-FBI-009766              US-FBI-009782
                              Rothenberg Ventures 2015 Fund Closing: April 24,
                              2015
                              9/4/2015 Email from Darrin Woo to Mike Rothenberg,
  462                         cc: Katie Fanelli and Brandon Farwell re: "list of  SEC-DOJ-EPROD-000020343    SEC-DOJ-EPROD-000020344
                              potential investors"

                              10/27/2015 to 4/29/2016 email chain with CY Capital,
                              David Chiu, Brandon Farwell, Katie Fanelli, Neil
  463                                                                              SEC-DOJ-EPROD-000040339   SEC-DOJ-EPROD-000040348
                              Devani and cc'ing Mike Rothenberg with Subject: Re:
                              Rothenberg Ventures and CY Capital

                              10/27/2015 Email from Neil Devani to CY Capital
                              cc'ing Katie Fanelli, Lynne McMillan and Mike
  464                         Rothenberg with Subject: Rothenberg Ventures and    SEC-DOJ-EPROD-000062623    SEC-DOJ-EPROD-000062645
                              CY Capital, attaching 2016 Fund Term Sheet and
                              Rothenberg Ventures Presentation

                              12/2/2015 Email from Neil Devani to Mike
                              Rothenberg cc'ing CY Capital, Katie Fanelli, and
  465                         Lynne McMillan with Subject: Re: Rothenberg         SEC-DOJ-EPROD-000062650    SEC-DOJ-EPROD-000063006
                              Ventures and CY Capital, attaching 2016 Fund Full
                              Reference documents
                              12/14/2015 Email from Neil Devani to Mike
                              Rothenberg cc'ing CY Capital, Katie Fanelli, and
  466                         Lynne McMillan with Subject: Re: Rothenberg         SEC-DOJ-EPROD-000063007    SEC-DOJ-EPROD-000063076
                              Ventures and CY Capital, attaching 2016 Fund Full
                              Reference Documents and Signature Packet
                              12/14/2015 Email from Neil Devani to Mike
                              Rothenberg cc'ing CY Capital, Katie Fanelli, and
  467                         Lynne McMillan with Subject: Re: Rothenberg         SEC-DOJ-EPROD-000063337    SEC-DOJ-EPROD-000063746
                              Ventures and CY Capital resending 2016 Fund Full
                              Reference Documents and Signature Packet
                              12/20/2015 Email from CY Capital to Neil Devani
                              cc'ing CY Capital, Katie Fanelli, Lynne McMillan and
  468                         Mike Rothenberg with Subject: Re: Rothenberg         SEC-DOJ-EPROD-000063747   SEC-DOJ-EPROD-000063754
                              Ventures and CY Capital, attaching signed
                              subscription documents

                              12/20/2015 and 12/21/2015 Email chain from Lynne
  469                         McMillian to Mike Rothenberg with Subject: Re:      SEC-DOJ-EPROD-000063786    SEC-DOJ-EPROD-000063794
                              Rothenberg Ventures and CY Capital

                              12/20/2015 through 12/22/2015 Email chain from
                              Lynne McMillan to CY Capital cc'ing CY Capital,
  470                                                                              SEC-DOJ-EPROD-000063821   SEC-DOJ-EPROD-000063829
                              Katie Fanelli, Mike Rothenberg, and Neil Devani with
                              Subject: Re: Rothenberg Ventures and CY Capital




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 TRIAL
          MARKED   ADMITTED             DESCRIPTION OF EXHIBIT                               BEGBATES                   ENDBATES
EXHIBIT
                              2/17/2016 to 2/18/2016 Email Chain from Katie
                              Fanelli to CY Capital cc'ing Mike Rothenberg with
  471                         Subject: Re: Rothenberg Ventures - updates - please SEC-DOJ-EPROD-000071033     SEC-DOJ-EPROD-000071036
                              include group controller for capital calls emails,
                              attaching invoice
                              8/21/2016 Email from David Chiu to Mike
  472                         Rothenberg with Subject: Re: Rothenberg Ventures LP SEC-DOJ-EPROD-000047200     SEC-DOJ-EPROD-000047201
                              Update Letter #1

                              11/10/2014 to 12/26/2014 email chain between Natala
  473                                                                             TLIR-0000444                TLIR-0000445
                              Menezes and Tommy Leep re: "great to see you"

                              12/25/2014 email from Tommy Leep to Mike
  474                                                                              TLIR-0000450               TLIR-0000450
                              Rothenberg re: "50k for Fund 2"
                              12/15/2015 email from Katie Fanelli to Lynne
  475                         McMillan and Mike Rothenberg re: "Funding            SEC-DOJ-EPROD-000060518    SEC-DOJ-EPROD-000060518
                              reminders to send for 12/17 close"

                              6/5/2016 e-mail from Menezes thanking Mike
  476                                                                              SEC-DOJ-EPROD-0000042933   SEC-DOJ-EPROD-0000042933
                              Rothenberg, Tommy Leep, and others for the game

                              Email chain with Amy Huang, Mike Rothenberg and
  477                         others re: "Re: Rothenberg Ventures and Archina      SEC-DOJ-EPROD-000026616    SEC-DOJ-EPROD-000026617
                              Capital"
                              12/9/2015 to 12/10/2015 email between Amy Huang
  478                                                                              B005445                    B005446
                              and Brandon Farewell re "DDQ"

                              12/17/2015 email from Neil Devani to Mike
                              Rothenberg, cc: Amy Huang, Katie Fanelli, Brandon
  479                         Farwell, and others re: "DDQ for Rothenberg Ventures SEC-DOJ-EPROD-000027710    SEC-DOJ-EPROD-000028078
                              2016 Fund", and attachments, including side letter,
                              full reference documents, and signature packet

                              12/17/2015 email chain involving Amy Huang, Lynne
  480                         McMillan, Mike Rothenberg, and others re           SEC-DOJ-EPROD-000068730      SEC-DOJ-EPROD-000068730
                              "Rothenberg Wiring Instructions" 12/17/2017
                              12/27/2015 emails from Mike Rothenberg to Brian
  481                         McDaniel, cc: Amy Huang and Neil Devani re:        SEC-DOJ-EPROD-000100027      SEC-DOJ-EPROD-000100027
                              "Rothenberg Ventures LPA"
                              12/29/2015 email from Susan Wan to Neil Devani and
                              Lynne McMillan, cc: Amy Huang, Mike Rothenberg,
  482                                                                            SEC-DOJ-EPROD-000100026      SEC-DOJ-EPROD-000100026
                              and others re: "Finish Line", attaching signed
                              documents

                              2/12/2016 email from Neil Devani to Katie Fanelli and
                              others, cc: Lynne McMillan, Mike Rothenberg, Amy SEC-DOJ-EPROD-000070424        SEC-DOJ-EPROD-000070453
  483
                              Huang and others re: "Finish Line" attaching executed (RVMC00027208)            (RVMC00027237)
                              Side Letter and Subscription Agreement

                              3/27/2016 email chain involving Mike Rothenberg,
                              Amy Huang, and others re: "[Confidential - Do Not
  484                                                                              SEC-DOJ-EPROD-000034362    SEC-DOJ-EPROD-000034363
                              Forward] Rothenberg Ventures 2016 Fund - Closing
                              Update"
                              5/10/2016 email from A. Huang to M. Rothenberg re:
  485                         "Re: Rothenberg Ventures Co-Investment / Kespry      SEC-DOJ-EPROD-000052349    SEC-DOJ-EPROD-000052350
                              Follow-up"
                              7/25/2016 to 7/26/2016 email chain involving Mike
  486                         Rothenberg, Amy Huang, and Justin Grooms re:         SEC-DOJ-EPROD-000049524    SEC-DOJ-EPROD-000049525
                              "Catch up"
                              8/18/2016 to 8/19/2016 email chain involving Amy
  487                         Huang, Mike Rothenberg, and others re: "250k         SEC-DOJ-EPROD-000086914    SEC-DOJ-EPROD-000086917
                              refund"
                              5/13/2016 to 8/23/2016 email chain involving
                                                                                   SEC-DOJ-EPROD-000085452    SEC-DOJ-EPROD-000085461
  488                         Brandon Farwell, Amy Huang, and others re: "Wire
                                                                                   (RVMC00032012)             (RVMC00032021)
                              Info"



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 TRIAL
          MARKED   ADMITTED             DESCRIPTION OF EXHIBIT                                    BEGBATES                        ENDBATES
EXHIBIT
                              8/21/2016 email re: "Rothenberg Ventures LP Update
  489                                                                            SEC-DOJ-EPROD-000048889              SEC-DOJ-EPROD-000048890
                              Letter #1"

                              8/27/2016 email from Amy Huang to Mike
  490                                                                               SEC-DOJ-EPROD-0000498888          SEC-DOJ-EPROD-0000498888
                              Rothenberg and others re: "Archina's Capital Request"

                              9/9/2016 Rothenberg Investor LP Update Letter
  491                                                                                 SEC-DOJ-EPROD-000050056         SEC-DOJ-EPROD-000050057
                              (9/9/2016)
                              Unknown date e-mail from Seung Gon Hong to
                                                                                      SEC-DOJ-EPROD-000043888         SEC-DOJ-EPROD-000043888
  492                         Sophie Liao at Rothenberg Ventures re: "Korea
                                                                                      (HAASE-0000149)                 (HAASE-0000149)
                              investment partners rv 2016"

                              Unknown date e-mail to Sophie Liao at Rothenberg        SEC-DOJ-EPROD-000043892         SEC-DOJ-EPROD-000043892
  493
                              Ventures re: "LP list and their porpotions [sic]"       (HAASE-0000153)                 (HAASE-0000153)

                              Unknown date message from David Haase to Paul at        SEC-DOJ-EPROD-000043917         SEC-DOJ-EPROD-000043917
  494
                              Korea Investment Partners                               (HAASE-0000178)                 (HAASE-0000178)
                              5/19/2016 e-mail from James Chung at Korea
                              Investment Partners to Brandon Farwell, cc: Mike        SEC-DOJ-EPROD-000041995         SEC-DOJ-EPROD-000042012
  495
                              Rothenberg and others re: "Reload + Rothenberg          (B042776)                       (B042793)
                              Ventures", with attachment

                              5/20/2016 e-mail from Mike Rothenberg to James
                                                                                    SEC-DOJ-EPROD-000042054           SEC-DOJ-EPROD-000042055
  496                         Chung, cc: Brandon Farwell, Ewan Johnson, Katie
                                                                                    (B042835)                         (B042836)
                              Fanelli and others re: "Reload + Rothenberg Ventures"

                              5/20/2016 to 5/22/2016 e-mail chain involving Neil
                                                                                      SEC-DOJ-EPROD-000042185         SEC-DOJ-EPROD-000042186
  497                         Devani, Brandon Farwell, and Mike Rothenberg re:
                                                                                      (B042966)                       (B042967)
                              "Reload + Rothenberg Ventures"

                              7/25/2016 e-mail chain involving Mike Rothenberg,
                                                                                 SEC-DOJ-EPROD-000085062              SEC-DOJ-EPROD-000085062
  498                         Brandon Farwell, David Haase, and others re: "$3mm
                                                                                 (RVMC00031622)                       (RVMC00031622)
                              LPA from Korea Investment Partners Subscription"

                              8/27/2019 letter from 2016 Rothenberg Ventures
  499                         Feeder Fund GP to Korea Investment Partners, signed US-FBI-009221                       US-FBI-009239
                              by Burke Robinson
                              RV 2016 Feeder Fund LP Subscription Agreement and
  500                         Investor Questionnaire unsigned, received by Korea  US-FBI-008835                       US-FBI-008894
                              Investment Partners

                              Rothenberg Ventures 2016 Feeder Fund documents
  501                                                                                 US-FBI-008895                   US-FBI-009006
                              received by Korea Investment Partners

                              Rothenberg Ventures PowerPoint deck received by
  502                                                                                 US-FBI-009007                   US-FBI-009019
                              Korean Investment Partners
                              Regina Scully Interest Transfer Agreement dated
  503                                                                                 SEC-DOJ-EPROD-000100358         SEC-DOJ-EPROD-000100362
                              3/26/2015
  504                         Suite Experience Group records                          SEG_002                           SEG_085
                                                                                      US-FBI-005797
  505                         Mike Rothenberg video statement                         (https://www.youtube.com/watch?v=
                                                                                      7JrREq_azjU)
                              Mike Rothenberg deposition in SEC v. Rothenberg et
  506                                                                                 US-001601                       US-002548
                              al.
                              Rothenberg Opposition to SEC Motion for
  507                         Disgorgement (docket entry 90), 3:18-cv-05080, with     US-000794                       US-001168
                              exhibits, filed 8/21/2019
                              Rothenberg Responses to SEC's First Set of
  508                                                                                 US-FBI-006428-012               US-FBI-006428-018
                              Interrogatories
                              Rothenberg Responses to SEC's First Set of Requests
  509                                                                                 US-FBI-006428-001               US-FBI-006428-011
                              for Production
                              Rothenberg v. Haase et al. - Civil complaint filed by
                              Rothenberg against various individuals, including
  510                         David Haase, Lynne McMillan, Ewan Johnson,              US-FBI-006433                   US-FBI-006612
                              Brandon Farwell, Amy Huang and others, filed
                              8/15/2019, with exhibits



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 TRIAL
          MARKED   ADMITTED              DESCRIPTION OF EXHIBIT                                BEGBATES                  ENDBATES
EXHIBIT
  511                         Gerald Fujimoto Expert Report                            US-GTF-000001             US-GTF-000169
                              At Rothenberg Ventures, the Rise and Fall of a
                              Virtual Gatsby , Techcrunch, 8/16/2018,
  512                                                                                  SEC-DOJ-EPROD-000046902   SEC-DOJ-EPROD-000046906
                              https://techcrunch.com/2016/08/18/at-rothenberg-
                              ventures-the-rise-and-fall-of-a-virtual-gatsby/
  513                         The House of Rothenberg , Wired, 9/13/2016               SEC-DOJ-EPROD-000046831   SEC-DOJ-EPROD-000046853

                              9/26/2016 email from David Presser to
                              "investors@frontier.tech" re: "Confidential - Frontier
  514                                                                                  RVMC-00001833             RVMC-00001835
                              Tech Ventures - 2015 Fund - LP Update", attaching
                              list of 2015 Fund portfolio companies

                              8/3/2015 to 8/12/2015 email chain between
  515                         Rothenberg and OneHope Wine re: $100,000 wire            SEC-DOJ-EPROD-000067962   SEC-DOJ-EPROD-000067964
                              transaction on 8/3/2015
                              7/28/2015 email from Rothenberg to Haase,
  516                         Hathaway, and Mayo, listing "one hope winery             SEC-DOJ-EPROD-000085847   SEC-DOJ-EPROD-000085848
                              membership"

                              7/22/2015 email from Logan Allin to Rothenberg and
  517                                                                            SEC-DOJ-EPROD-000017590         SEC-DOJ-EPROD-000017590
                              Farwell re: "ONEHOPE Vineyard Membership"

                              9/12/2016 from Caterina Benson to Hannah Han,
  518                                                                                  SEC-DOJ-EPROD-000050140   SEC-DOJ-EPROD-000050141
                              attaching Fund Master list
  519                         Rothenberg Wells Submission, 4/27/2018                   US-000755                 US-000793
  520                         Rothenberg Wells Submission, revised 6/1/2018            US-000070                 US-000108
  521                         Wells Submission Exhibits                                WELLS-000001              WELLS-000825
                              River Studios Convertible Promissory Note                WELLS-000550              WELLS-000558
  522
                              2016.04.04                                               (RVMC00038628)            (RVMC00038636)
                              River Studios Convertible Promissory Note
  523                                                                                  RVMC00038628              RVMC00038636
                              2016.04.04
                              Warrant Agreements submitted to SEC on behalf of
  524                                                                                  RVWARRANTS-000001         RVWARRANTS-000334
                              Rothenberg




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